                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION
___________________________________________________________________________

IN RE: SMITTY’S/CAM2 303 TRACTOR          |
HYDRAULIC FLUID MARKETING, SALES          | MDL No. 2936
PRACTICES, AND PRODUCTS LIABILITY         |
LITIGATION                                | Master Case No. 4:20-MD-02936-SRB
                                          |
                                          |     ALL ACTIONS
______________________________________________________________________________

ALLICKS EXCAVATING,                )
ELLEN ALLICKS,                     )
WILLIAM ANDERSON,                  )
ROGER BIAS,                        )
TERRY BLACKMORE,                   )
SAMUEL BLAKENEY,                   )
GEORGE BOLLIN,                     )
KYLE BOYD,                         )
SEAN BUFORD,                       )
STEVE BURGDORF,                    )
TODD CARUSILLO,                    )
DOUGLAS CLOUGH,                    )
CLINTON CURRY,                     )
SAWYER DEAN,                       )
DANIEL DENTON,                     )
KIRK EGNER,                        )
KYLE FELDKAMP,                     )
NORMAN FOHNE,                      )
DUANE FOSDICK,                     )
ROBERT GOSCHE,                     )
PATRICK GISI,                      )
ARNO GRAVES,                       )           JURY TRIAL(S) DEMANDED
H & S FARMS, INC.                  )
MICHAEL HAMM,                      )
ALAN HARGRAVES,                    )
JEFFERY HARRISON,                  )
BRIAN HAYES,                       )
FRANK JAMES,                       )
WILLIAM JAMES,                     )
JACK KIMMICH,                      )
JASON KLINGENBERG,                 )
JUSTIN LEMONDS,                    )
JOSH LESKO,                        )




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LARRY WYATT LOEFFLER,                      )
JACOB MABIE,                               )
KYLE MINICH,                               )
RON NASH,                                  )
BRYAN NELMS,                               )
MATT ORTNER,                               )
RICKY PECK,                                )
MIKE PING,                                 )
STANLEY RICHARDSON,                        )
WAYNE RUPE,                                )
ADAM SEVY,                                 )
ANTHONY SHAW,                              )
RUSTY SHAW,                                )
JOHN SIGMON,                               )
JAY SIMPSON,                               )
DONALD SNYDER,                             )
CHARLES STRICKLAND,                        )
TIM SULLIVAN,                              )
TRACY SULLIVAN,                            )
JERRY TERRY,                               )
TWIN MILLS TIMBER & TIE CO. INC.,          )
STEVE UPCHURCH,                            )
RANDY VILELA,                              )
ROSS WATERMAN,                             )
DALE WENDT,                                )
WILLIAM WHITE,                             )
WINDMILL ACRES, INC.                       )
DWAYNE WURTH, and,                         )
TERRY ZORNES,                              )
                                           )
       Plaintiffs, on behalf of themselves )
       and all others similarly situated,  )
                                           )
       v.                                  )
                                           )
SMITTY’S SUPPLY, INC.,                     )
CAM2 INTERNATIONAL, LLC,                   )
ATWOOD DISTRIBUTING, LP,                   )
TRACTOR SUPPLY COMPANY,                    )
RURAL KING ADMINISTRATION, INC., )
RURAL KING DISTRIBUTION &                  )
MANAGEMENT, INC.,                          )
RURAL KING HOLDING CO., and                )
ORSCHELN FARM AND HOME, LLC                )
d/b/a ORSCHELN FARM AND HOME)              )
               Defendants.                 )

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                        CONSOLIDATED AMENDED COMPLAINT

       COME NOW Plaintiffs Allicks Excavating, Ellen Allicks, William Anderson, Roger Bias,

Terry Blackmore, Samuel Blakeney, George Bollin, Kyle Boyd, Sean Buford, Steve Burgdorf,

Todd Carusillo, Douglas Clough, Clinton Curry, Sawyer Dean, Daniel Denton, Kirk Egner, Kyle

Feldkamp, Norman Fohne, Duane Fosdick, Patrick Gisi, Robert Gosche, Arno Graves, H & S

Farms, Inc., Michael Hamm, Alan Hargraves, Jeffery Harrison, Brian Hayes, Frank James,

William James, Jack Kimmich, Jason Klingenberg, Justin Lemonds, Josh Lesko, Larry Wyatt

Loeffler, Jacob Mabie, Kyle Minich, Ron Nash, Bryan Nelms, Matt Ortner, Ricky Peck, Mike

Ping, Stanley Richardson, Wayne Rupe, Adam Sevy, Anthony Shaw, Rusty Shaw, John Sigmon,

Jay Simpson, Donald Snyder, Charles Strickland, Tim Sullivan, Tracy Sullivan, Jerry Terry, Twin

Mills Timber & Tie Co., Inc., Steve Upchurch, Randy Vilela, Ross Waterman, Dale Wendt,

William White, Windmill Acres, Inc., Dwayne Wurth, and Terry Zornes, on behalf of themselves

and all others similarly situated, and for their Consolidated Amended Complaint state and allege

as follows:

                    NATURE OF THIS CONSOLIDATED COMPLAINT

       1.      This Consolidated Amended Complaint (“CAC”) sets forth the putative class and

individual claims subsumed within this multidistrict litigation proceeding for claims relating to

Smitty’s/Cam2 303 Tractor Hydraulic Fluid Marketing, Sales Practices, and Product Liability

Litigation (“Smitty’s/Cam2 303 THF MDL”). This CAC is filed pursuant to the Court’s Orders

of July 8, 2020 (Doc. 25) and August 3, 2020 (Doc. 46).

       2.      For the class and individual claims from the following cases which were transferred

into this Smitty’s/Cam2 303 THF MDL, the transferor forums’ choice-of-law principles will apply

with respect to each class and individual Plaintiff’s claims, notwithstanding this filing of this CAC:



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              (a) Zornes, et al. v. Smitty’s Supply, Inc., et al.
                  Case No. 19-cv-2257-JAR-TJJ (D. Kan.)
                  (Kansas Purchases)

              (b) Wurth, et al. v. Smitty’s Supply, Inc., et al.
                  Case No. 19-cv-00092-TBR (W.D. Kent.)
                  (Kentucky Purchases)

              (c) Buford v. Smitty’s Supply, Inc., et al.
                  Case No. 1:19-cv-00082-BRW ( E.D. Ark.)
                  (Arkansas Purchases)

              (d) Mabie v. Smitty’s Supply, Inc., et al.
                   Case No. 4:19-cv-03308 (S.D. Tex.)
                  (Texas Purchases)

              (e) Blackmore, et al. v. Smitty’s Supply, Inc., et al.,
                  Case No. 5:19-cv-04052 (N.D. Iowa)
                  (Iowa Purchases)

              (f) Fosdick, et al. v. Smitty’s Supply, Inc., et al.
                  Case No. 2:19-cv-01850-MCE-DMC (E.D. Cal.)
                  (California Purchases)

              (g) Klingenberg v. Smitty’s Supply, Inc., et al.
                  Case No. 19-cv-2684-ECT/ECW (D. Minn.)
                  (Minnesota Purchases)

              (h) Graves, et al. v. Smitty’s Supply, Inc., et al.
                   Case No. 34:19-cv-05089-SRB (W.D.Mo.)
                  (Multi-State Class for Purchases in 42 States)

              (i) Feldkamp, et al. v. Smitty’s Supply, Inc., et al.
                  Case No. 2:20-cv-02177-CSB-EIL
                  (Nationwide and Illinois Purchases)

       3.     For the class and individual claims which are being directly filed through this CAC,

the choice-of-law principles of the forum where those claims would have originally been filed

were it not for the direct filing in this Smitty’s/Cam2 303 THF MDL, will apply as follows:

              (a) Alabama: Plaintiff Brian Nelms and the Alabama Purchases Sub-Class;

              (b) Colorado: Plaintiffs Ross Waterman and the Colorado Purchases Sub-Class;



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      (c) Connecticut: Plaintiff Todd Carusillo and the Connecticut Purchases Sub-Class;

      (d) Florida: Plaintiff Charles Strickland and the Florida Purchases Sub-Class;

      (e) Georgia: Plaintiffs Anthony Shaw, Rusty Shaw, and the Georgia Purchases

         Sub-Class;

      (f) Indiana: Plaintiff Frank James and the Indiana Purchases Sub-Class;

      (g) Michigan: Plaintiff Douglas Clough and the Michigan Purchases Sub-Class;

      (h) Mississippi: Plaintiff Samuel Blakeney and the Mississippi Sub-Class;

      (i) Nebraska: Plaintiffs Wyatt Loeffler, Jay Simpson, and the Nebraska Purchases

         Sub-Class;

      (j) New York: Plaintiff Sawyer Dean and the New York Purchases Sub-Class;

      (k) North Carolina: Plaintiff H& S Farms, Inc., John Sigmon, and Windmill Acres

         (collectively referred to as “John Sigmon Entities”), Plaintiffs Justin Lemonds,

         Steve Upchurch, William White, and the North Carolina Purchases Sub-Class;

      (l) Ohio: Plaintiffs Robert Gosche, Brian Hayes, Matt Ortner, and the Ohio

         Purchases Sub-Class;

      (m) Oklahoma: Plaintiffs Arno Graves, Ron Nash, and the Oklahoma Purchases

         Sub-Class;

      (n) Pennsylvania: Plaintiff Kyle Minich and the Pennsylvania Purchases Sub-

         Class;

      (o) South Carolina: Plaintiff Mike Ping and the South Carolina Purchases Sub-

         Class;

      (p) South Dakota: Plaintiff Patrick Gisi and the South Dakota Purchases Sub-

         Class;



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               (q) Tennessee: Plaintiffs William James, Jerry Terry, and the Tennessee Purchases

                   Sub-Class;

               (r) West Virginia: Plaintiffs Roger Bias, Clinton Curry, and the West Virginia

                   Purchases Sub-Class; and,

               (s) Wisconsin:    Plaintiffs Michael Hamm, Dale Wendt, and the Wisconsin

                   Purchases Sub-Class.

       4.      Plaintiffs agree that the filing of this CAC does not waive any Parties’ venue or

jurisdictional objections pursuant to Lexecon, Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523

U.S. 26 (1988).

                                SUMMARY OF THIS ACTION

       5.      Plaintiffs, by and through the undersigned counsel, bring this action on their own

behalves, on behalf of the nationwide classes asserted herein, and on behalf of the state-specific

sub-classes (collectively referred to as “Sub-Classes”) defined below to redress the negligent,

wrongful, unlawful, unfair, unconscionable and/or deceptive practices, acts, and/or omissions of

Defendants in connection with their manufacturing, marketing, and/or sale of Smitty’s/Cam2 303

Tractor Hydraulic Fluid. Plaintiffs seek, on behalf of themselves and all others similarly situated,

relief for Defendants’ negligence, breach of express warranties, breach of implied warranties or

merchantability and fitness for a particular purpose, unjust enrichment, fraudulent and negligent

misrepresentations, and for their violation of various statutes, all as set forth more fully below.

Plaintiffs also seek, on behalf of themselves and all others similarly situated, disgorgement of

Defendants’ profits from the sale of the Smitty’s/Cam2 303 Tractor Hydraulic Fluid Products at

issue in this MDL. Plaintiffs also seek other economic damages, including recovery for property

damages that Defendants’ conduct and products commonly caused to Plaintiffs and Class



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Members’ tractors and other equipment. Plaintiffs also seek punitive and statutory additional

damages. Finally, Plaintiffs seek injunctive relief precluding Defendants from engaging in similar

wrongful conduct in the future.

               BACKGROUND AND GENERAL FACTUAL ALLEGATIONS

       6.      For years, Defendants have deceptively and misleadingly labeled, marketed and

sold tractor hydraulic fluid as “303” fluid meeting “303” specifications when, in fact, the “303”

designation is obsolete and 303 specifications have not been available for over forty (40) years.

Defendants have also deceptively and misleadingly labeled, marketed and sold tractor hydraulic

fluid as meeting certain manufacturer specifications and providing certain anti-wear and protective

benefits when, in fact, Defendants knew, or should have known, the fluid they are selling does not

meet all listed manufacturer specifications and does not contain the anti-wear and protective

properties required in Tractor Hydraulic Fluid. Instead, the “303” fluid is a fluid mixed from line

wash and other lubricant products (including some used products) that are not suitable for use as

ingredients in a tractor hydraulic fluid.

       7.      Tractor Hydraulic Fluid (THF) is a multifunctional lubricant that has been

manufactured for and used in tractors and equipment for over fifty (50) years. It is designed to act

as a hydraulic fluid, transmission fluid and gear oil for this equipment. In the 1960s and early

1970s, John Deere (Deere) manufactured a popular and widely used THF called JD-303 or simply

“303,” and the term “303” became synonymous with the John Deere name and this high-quality

and effective THF product.

       8.      Sperm whale oil was an essential ingredient in Deere’s 303 THF. In the mid-1970s,

the passage of laws protecting endangered species outlawed the use of sperm whale oil. Deere’s

“303” formula could no longer be manufactured or sold, and because its essential ingredient—



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sperm whale oil—could no longer be used, the designation became obsolete and there are no

specifications now available for “303” tractor hydraulic fluids. Deere was forced to manufacture

a new tractor hydraulic fluid with different additives that would be both effective and affordable.

       9.      After it stopped producing and selling its 303 THF, Deere manufactured and sold

several THF products with certain ingredient, viscosity, anti-wear and detergent additive

specifications, including initially offering J14B, J20A and J20B. Many other manufacturers

created and sold fluids that purported to be similar to these new products while others continued

to offer what they termed a “303” product. The J14B specification became obsolete in the late

1970s. J20A and J20B were then offered and, during the time the J20A/B specifications were in

use, Deere used a licensing program called Quatrol to police the quality of THF products in the

marketplace. The Quatrol program required blenders and sellers of competing THF products to

submit test data to Deere prior to the use of the J20A/B specification on their product labels, to

ensure the products met the advertised specifications.

       10.     In the late 1980s or early 1990s, Deere abandoned the J20A/B specification as well.

John Deere then and now manufactures and sells THF meeting a specification called J20C or J20D

(low viscosity). The J20C fluid is sold under the name “Hy-Gard,” and many other manufacturers

market and sell products which they contend meet the J20C specification in order to compete with

John Deere. The following timeline illustrates the history of 303 THF:




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       11.     John Deere discontinued the Quatrol program around the time J20A was

discontinued (approximately 1989). The subsequent lack of a quality control program or policing

of the products in the market resulted in a “free for all” with respect to the THF manufactured and

sold in the open market and the opportunity for unscrupulous manufacturers and sellers to falsely

use the Deere specifications (and other manufacturers’ specifications) on the labels of the THF

products they sell.

       12.     Defendants deceptively and illegally traded on the obsolete and non-existent “303”

designation, the other obsolete J14B and J20A specifications, and the John Deere trade name that

was and has continued to be so prevalent in the industry. This was deceptive as there is no known

“303” specification, and there is no way for manufacturers, sellers, or anyone else to truthfully

claim the products meets or is in compliance with any such specification. This was also deceptive

because Defendants knew their 303 THF Products did not meet the J20A specification Defendants

advertised on the label.



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       13.     Nonetheless, Defendants manufactured and sold their Super S Super Trac 303

Tractor Hydraulic Fluid, Super S 303 Tractor Hydraulic Fluid, Cam2 Promax 303 Tractor

Hydraulic Oil, and Cam2 303 Tractor Hydraulic Oil (together referred to as “303 THF Products”)

as a lower cost alternative, and offered them for sale as economically priced tractor hydraulic fluids

that met or had an equivalency to many (or in some cases all) manufacturers’ specifications, had

effective lubricant and anti-wear additives and properties, and were safe for use in purchasers’

equipment. The Cam2 Promax 303 Tractor Hydraulic Oil was the same fluid as Super S 303

Tractor Hydraulic Fluid, Super S Super Trac 303 Tractor Hydraulic Fluid, and Cam2 303 Tractor

Hydraulic Oil, all also manufactured by Smitty’s. Defendants sold their 303 THF Products with

eye-catching photos of modern tractors and industrial equipment and in bright, yellow 5-gallon

buckets. By name dropping a list of equipment manufacturers, Defendants sought to create an

impression of quality and take advantage of consumers’ lack of understanding of the multitude of

complex manufacturer specifications that were being ignored.

       14.     In addition to deceptively promoting a designation that was obsolete, Defendants

used poor quality base oils, waste oil, line flush, and used oils and diluted additive packages, if

any, in their 303 THF Products in order to keep production costs down and increase profits. As a

result of the inferior ingredients and this “down-treating” of any additive packages, Defendants’

303 THF Products not only lacked the required lubricant and protective benefits offered to

purchasers, the fluids actually exposed purchasers’ equipment to increased wear and risk of

damage to the spiral gear, excessive wear in the planetaries, improper and poor shifting, seal

leakage, and improper operation of the wet brakes. Despite use of these inferior ingredients and

inadequate protective additives, the 303 THF Products were labeled and marketed to unsuspecting




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purchasers as meeting or having an equivalency to manufacturer specifications and providing

certain benefits and anti-wear properties.

       15.     In November 2017, because of the deceptive nature of the 303 THF Products, the

failures of the 303 THF Products to meet any published specification, and the damage the products

could cause to consumers’ equipment, the State of Missouri’s Department of Agriculture, Division

of Weights and Measures, banned Defendants and all other manufacturers and sellers from offering

these type of “303” tractor hydraulic fluid products for sale in Missouri. The states of Georgia and

North Carolina followed suit.

       16.     Despite the ban of “303” THF in several states and the increased scrutiny on those

products throughout the country, Defendants continued for some time to sell their 303 THF

Products in all states where the fluid had not been banned.

       17.     Defendants’ conduct has harmed purchasers like Plaintiffs, who purchased

Defendants’ 303 THF Products that were offered and sold as acceptable tractor hydraulic fluids

that met or had an equivalency to certain manufacturer specifications, as fluids that were safe for

use in farm, construction and logging equipment, and as having certain characteristics and qualities

that protected equipment from wear and damage.

       18.     In reality, instead of receiving a product that was an acceptable tractor hydraulic

fluid that met or had an equivalency to manufacturers’ specifications, Plaintiffs and other

purchasers received 303 THF Products that, contrary to Defendants’ labeling, had no known or

industry-approved specifications, had contents and additives that varied, were unknown, were

obsolete, did not possess the claimed protective characteristics and/or did not meet one or more of

the manufacturers’ specifications on these products. These products therefore exposed purchasers’




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equipment to harm, increased wear and damage, and caused purchasers to overpay for a product

that was worthless and/or worth much less than the sale price.

        19.     In late 2017, around the time of the stop sale order and ban of 303 THF in Missouri

and other states, Defendants Smitty’s and Cam2 modified the label of their Super S Super Trac

303 Tractor Hydraulic Fluid and Cam2 Promax 303 Tractor Hydraulic Oil, changing the names to

“Super S 303 Tractor Hydraulic Fluid” and “Cam2 303 Tractor Hydraulic Oil.” Because the

photos of the equipment on certain labels were deceptive and misleading, Smitty’s removed the

pictures of the modern equipment and replaced those pictures with images of older, simpler tractors

on the front of the label.

        20.     At that time, however, no others changes were made to the labels despite the fact

that management employees at Smitty’s and Cam2 knew of the deceptive and misleading

representations about the physical and performance properties of the fluid, the representations

about the testing that was purportedly performed on the fluid, and the list of equipment

manufacturers’ names contained on the Super S 303 and Cam 2 303 labels. Incredibly, Smitty’s

and Cam2 continued to sell the 303 THF Products in all states in which it had not been banned,

with those misrepresentations knowingly being made to purchasers like Plaintiffs.

        21.     Like many other purchasers and consumers throughout Alabama, Arkansas,

California, Colorado, Connecticut, Florida, Georgia, Illinois, Indiana, Iowa, Kansas, Kentucky,

Nebraska, Michigan, Minnesota, Missouri, New York, North Carolina, Oklahoma, Pennsylvania,

Ohio, South Carolina, South Dakota, Tennessee, Texas, Virginia, West Virginia, Wisconsin, and

other states throughout the United States, Plaintiffs purchased Defendants’ 303 THF Products and

suffered damage as a result.




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       22.        In October 2017, in connection with its issuance of a stop sale order and the ban on

303 THF Products, the State of Missouri’s Department of Agriculture, Division of Weights and

Measures, stated publicly that it had performed testing on the 303 THF Products and that the testing

revealed that the products did not meet any manufacturers’ current tractor hydraulic fluid

specifications and were underperforming to the point damage was likely to result from use.

       23.        Defendants continued to sell their products and concealed any internal test data and

the truth about the 303 THF products at all relevant times.

                                              PARTIES

       24.         Plaintiff Allicks Excavating is a sole proprietorship business owned by Ellen

Allicks and located in Princeton, Illinois. It is a member of the Class and the Illinois Sub-Class

alleged herein.

       25.        Plaintiff Ellen Allicks is a citizen and resident of Princeton, Illinois. She is a

member of the Class and the Illinois Sub-Class alleged herein.

       26.        Plaintiff William Anderson is a citizen and resident of Devalls Bluff, Arkansas. He

is a member of the Class and the Arkansas Sub-Class alleged herein.

       27.        Plaintiff Roger Bias is a citizen and resident of West Virginia. He is a member of

the Class and the West Virginia Sub-Class alleged herein.

       28.        Plaintiff Terry Blackmore is a citizen and resident of Plymouth County, Iowa. He

is a member of the Class and the Iowa Sub-Class alleged herein.

       29.        Plaintiff Samuel Blakeney is a citizen and resident of Bay Springs, Mississippi. He

is a member of the Class and the Mississippi Sub-Class alleged herein.

       30.        Plaintiff George Bollin is a citizen and resident of Leavenworth, Kansas. He is a

member of the Class and the Kansas Sub-Class alleged herein.



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       31.     Plaintiff Kyle Boyd is a citizen and resident of Harrison, Arkansas. He is a member

of the Class and the Arkansas Sub-Class alleged herein.

       32.     Plaintiff Sean Buford is a citizen and resident of Jackson County, Arkansas. He is

a member of the Class and the Arkansas Sub-Class alleged herein.

       33.     Plaintiff Steve Burgdorf is a citizen and resident of Redbud, Illinois. He is a

member of the Class and the Illinois Sub-Class alleged herein.

       34.     Plaintiff Todd Carusillo is a citizen and resident of Goshen, Connecticut. He is a

member of the Class and the Connecticut Sub-Class alleged herein.

       35.     Plaintiff Douglas Clough is a citizen and resident of Boon, Michigan. He is a

member of the Class and the Michigan Sub-Class alleged herein.

       36.     Plaintiff Clinton Curry is a citizen and resident of Kanawha County, West Virginia.

He is a member of the Class and the West Virginia Sub-Class alleged herein.

       37.     Plaintiff Sawyer Dean is a citizen and resident of Fort Edward, New York. He is a

member of the Class and the New York Sub-Class alleged herein.

       38.     Plaintiff Daniel Denton is a citizen and resident of Plantersville, Texas. He is a

member of the Class and the Texas Sub-Class alleged herein.

       39.     Plaintiff Kirk Egner is a citizen and resident of Kevil, Kentucky. He is a member

of the Class and the Kentucky Sub-Class alleged herein.

       40.     Plaintiff Kyle Feldkamp is a citizen and resident of Altamount, Illinois. He is a

member of the Class and the Illinois Sub-Class alleged herein.

       41.     Plaintiff Norman Fohne is a citizen and resident of Troy, Illinois. He is a member

of the Class and the Illinois Sub-Class alleged herein.




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       42.     Plaintiff Duane Fosdick is a citizen and resident of California. He is a member of

the Class and the California Sub-Class alleged herein.

       43.     Plaintiff Patrick Gisi is a citizen and resident of South Dakota. He is a member of

the Class and the South Dakota Sub-Class alleged herein.

       44.     Plaintiff Robert Gosche is a citizen and resident of Tiffin, Ohio. He is a member

of the Class and the Ohio Sub-Class alleged herein.

       45.     Plaintiff Arno Graves is a citizen and resident of Ottawa County, Oklahoma. He is

a member of the Class and the Missouri and Oklahoma Sub-Classes alleged herein.

       46.     Plaintiff Michael Hamm is a citizen and resident of Waupaca, Wisconsin. He is a

member of the Class and the Wisconsin Sub-Class alleged herein.

       47.     Plaintiff Alan Hargraves is a citizen and resident of Helena, Arkansas. He is a

member of the Class and the Arkansas Sub-Class alleged herein.

       48.     Plaintiff Jeffery Harrison is a citizen and resident of Haskell, Arkansas. He is a

member of the Class and the Arkansas Sub-Class alleged herein.

       49.     Plaintiff Brian Hayes is a resident of Ohio. He is a member of the Class and the

Ohio Sub-Class alleged herein.

       50.     Plaintiff Frank James is a citizen and resident of Crawfordsville, Indiana. He is a

member of the Class and the Indiana Sub-Class alleged herein.

       51.     Plaintiff William James is a resident of Tennessee. He is a member of the Class

and the Tennessee Sub-Class alleged herein.

       52.     Plaintiff Jack Kimmich is a citizen and resident of California. He is a member of

the Class and the California Sub-Class alleged herein.




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       53.     Plaintiff Jason Klingenberg is a citizen and resident of Lyon County, Iowa. He is

a member of the Class and the Iowa and Minnesota Sub-Classes alleged herein.

       54.     Plaintiff Justin Lemonds is a citizen and resident of Robbins, North Carolina. He

is a member of the Class and the North Carolina Sub-Class alleged herein.

       55.     Plaintiff Josh Lesko is a citizen and resident of Sheridan, Illinois. He is a member

of the Class and the Illinois Sub-Class alleged herein.

       56.     Plaintiff Larry Wyatt Loeffler is a citizen and resident of Mitchell, Nebraska. He

is a member of the Class and the Nebraska Sub-Class alleged herein.

       57.     Plaintiff Jacob Mabie is a citizen and resident of Michigan. He is a member of the

Class and the Texas Sub-Class alleged herein.

       58.     Plaintiff Kyle Minich is a citizen and resident of Rimersburg, Pennsylvania. He is

a member of the Class and the Pennsylvania Sub-Class alleged herein.

       59.     Plaintiff Ron Nash is a citizen and resident of Cherokee County, Kansas. He is a

member of the Class and the Missouri and Oklahoma Sub-Classes alleged herein.

       60.     Plaintiff Bryan Nelms is a resident of Tuscaloosa, Alabama. He is a member of the

Class and the Alabama Sub-Class alleged herein.

       61.     Plaintiff Matt Ortner is a resident of Ohio. He is a member of the Class and the

Ohio Sub-Class alleged herein.

       62.     Plaintiff Ricky Peck is a citizen and resident of Paducah, Kentucky. He is a member

of the Class and the Kentucky Sub-Class alleged herein.

       63.     Plaintiff Mike Ping is a citizen and resident of Rock Hill, South Carolina. He is a

member of the Class and the South Carolina Sub-Class alleged herein.




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       64.    Plaintiff Stanley Richardson is a citizen and resident of Marshall, Texas. He is a

member of the Class and the Texas Sub-Class alleged herein.

       65.    Plaintiff Wayne Rupe is a citizen and resident of Wapello County, Iowa. He is a

member of the Class and the Iowa Sub-Class alleged herein.

       66.    Plaintiff Adam Sevy is a citizen and resident of Cass County, Missouri. He is a

member of the Class and the Kansas Sub-Class alleged herein.

       67.    Plaintiff Anthony Shaw is a resident of Byron, Georgia. He is a member of the

Class and the Georgia Sub-Class alleged herein.

       68.    Plaintiff Rusty Shaw is a resident of Byron, Georgia. He is a member of the Class

and the Georgia Sub-Class alleged herein.

       69.    Plaintiffs Windmill Acres, Inc. and H&S Farms, Inc. (collectively referred to as

“John Sigmon Entities”) are corporate entities solely and/or primarily owned by John Sigmon.

Mr. Sigmon is a resident of Newton, North Carolina. They are members of the Class and the North

Carolina Sub-Class alleged herein.

       70.    Plaintiff Jay Simpson is a resident of Nebraska. He is a member of the Class and

the Nebraska Sub-Class alleged herein.

       71.    Plaintiff Donald Snyder is a citizen and resident of Bonnerdale, Arkansas. He is a

member of the Class and the Arkansas Sub-Class alleged herein.

       72.    Plaintiff Charles Strickland is a citizen and resident of Fort White, Florida. He is a

member of the Class and the Florida Sub-Class alleged herein.

       73.    Plaintiff Tim Sullivan is a citizen and resident of Kevil, Kentucky. He is a member

of the Class and the Kentucky Sub-Class alleged herein.




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       74.     Plaintiff Tracy Sullivan is a citizen and resident of Kevil, Kentucky. He is a member

of the Class and the Kentucky Sub-Class alleged herein.

       75.     Plaintiff Jerry Terry is a citizen and resident of Springfield, Tennessee. He is a

member of the Class and the Tennessee Sub-Class alleged herein.

       76.     Plaintiff Twin Mills Timber & Tie Co., Inc. is a company located in West Frankfurt,

Illinois. It is a member of the Class and the Illinois Sub-Class alleged herein.

       77.     Plaintiff Steve Upchurch is a citizen and resident of Robbins, North Carolina. He

is a member of the Class and the North Carolina Sub-Class alleged herein.

       78.     Plaintiff Randy Vilela is a resident of Pittsburgh, Kansas. He is a member of the

Class and the Missouri Sub-Class alleged herein.

       79.     Plaintiff Ross Waterman is a citizen and resident of Vona, Colorado. He is a

member of the Class and the Colorado and Kansas Sub-Classes alleged herein.

       80.     Plaintiff Dale Wendt is a citizen and resident of Weyauwega, Wisconsin. He is a

member of the Class and the Wisconsin Sub-Class alleged herein.

       81.     Plaintiff William White is a citizen and resident of Crouse, North Carolina. He is

a member of the Class and the North Carolina Sub-Class alleged herein.

       82.     Plaintiff Dwayne Wurth is a citizen and resident of Paducah, Kentucky. He is a

member of the Class and the Kentucky Sub-Class alleged herein.

       83.     Plaintiff Terry Zornes is a citizen and resident of Allen County, Kansas. He is a

member of the Class and the Kansas Sub-Class alleged herein.

       84.     Defendant Smitty’s Supply, Inc. is a for-profit company incorporated in Louisiana

and with its principal place of business in Roseland, Louisiana. Defendant Smitty’s Supply, Inc.

owns Cam2 International, L.L.C., and so the companies together will be referred to herein as



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“Smitty’s.” Smitty’s has advertised and sold its products, including the 303 THF Products

throughout the United States, including at Atwoods, Tractor Supply Company, Rural King,

Orscheln, and other retail stores.

       85.       Defendant Cam2 International, L.L.C. (“Cam2”) is a for-profit company

incorporated in Louisiana and with its principal place of business in Roseland, Louisiana. Cam2

has advertised and sold the 303 THF Products throughout the United States at various retail stores,

including those owned and operated by Atwood Distributing, LP, Tractor Supply Company, Rural

King, and other retail stores.

       86.       Defendant Tractor Supply Company (“Tractor Supply”) is a for-profit company

with its principal place of business in Brentwood, Tennessee. Defendant Tractor Supply Company

has advertised and sold the 303 THF Products throughout the United States at its retail stores.

       87.       Defendants Rural King Administration, Inc. and Rural King Holding Co.

(collectively “Rural King”) are for-profit companies with their principal place of business located

at 4216 DeWitt Avenue, Mattoon, Illinois 61938. Rural King has advertised and sold the 303 THF

Products at its retail stores in several states including Alabama, Florida, Illinois, Indiana,

Kentucky, Tennessee, Ohio, Michigan, Missouri, North Carolina, Pennsylvania, Virginia, and

West Virginia.

       88.       Defendant Orscheln Farm and Home, LLC d/b/a/ Orscheln Farm and Home

(“Orscheln”) is a for-profit limited liability company with its principal place of business in

Moberly, Missouri. Orscheln has advertised and sold the 303 THF Products in several states

including Arkansas, Illinois, Indiana, Iowa, Kansas, Kentucky, Missouri, Ohio, Oklahoma,

Nebraska, and Texas.




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       89.     Defendant Atwood Distributing, LP (“Atwoods”) is a for-profit limited liability

company incorporated in Oklahoma and with its principal place of business in Enid, Oklahoma.

Defendant Atwoods has advertised and old the 303 THF Products at its Atwoods Ranch and Home

retail stores in several states including Arkansas, Kansas, Missouri, Oklahoma, and Texas.

       90.     Defendants’ conduct has harmed purchasers like Plaintiffs by inducing them to

purchase and use Defendants’ 303 THF Products through the false promise that the 303 THF

Products met or had an equivalency to certain specifications (including JD-303 and J20A) and by

directly or implicitly representing that the products were safe for use in farm, construction and

logging equipment and had certain characteristics and qualities that protected equipment from

wear and damage when, in reality, the products did not meet any specifications and caused harm,

increased wear and damage to Plaintiffs’ equipment.

                                 JURISDICTION AND VENUE

       91.     Federal Jurisdiction is proper pursuant to the Class Action Fairness Act (“CAFA”),

28 U.S.C. § 1332(d), because at least one Class Member is a citizen of a state different from any

Defendant, there are more than 100 Class Members, and the amount in controversy exceeds

$5,000,000.00 exclusive of interest and costs.

       92.     Venue is proper in this District Court for all pretrial proceedings pursuant to 28

U.S.C. § 1407 and pursuant to the June 2, 2020 Transfer Order of the Judicial Panel on Multidistrict

Litigation.

       93.     With regard to the transferred action of Zornes, et al. v. Smitty’s Supply, Inc., et al.,

Case No. 19-cv-2257-JAR-TJJ (D. Kan.), the United States District Court for the District of

Kansas is an appropriate venue for trial because the false representations, deceptive, dishonest,

and misleading practices and the unjust enrichment occurred in Kansas and elsewhere. The United



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States District Court of Kansas has personal jurisdiction over Defendants Smitty’s, Cam2, Tractor

Supply, and Orscheln, and Atwoods because those Defendants transact business in Kansas,

through their various advertising methods and product sales directed toward Kansas residents.

Additionally, Plaintiffs Zornes, Sevy, and Bollin purchased the 303 THF Products at issue in

Kansas. Federal jurisdiction is appropriate under the Class Action Fairness Act of 2005, 28 U.S.C.

§1332(d).

       94.     With regard to the transferred action of Wurth, et al. v. Smitty’s Supply, Inc., et al.,

Case No. 19-cv-00092-TBR (W.D. Kentucky), the United States District Court for the Western

District of Kentucky is an appropriate venue for trial because the false representations, deceptive,

dishonest, and misleading practices and the unjust enrichment occurred in the Western District of

Kentucky and elsewhere. The United States District Court for the Western District of Kentucky

has personal jurisdiction over Defendants Smitty’s, Cam2, Tractor Supply, Orscheln, and Rural

King because those Defendants transact business in Kentucky, through their various advertising

methods and product sales directed toward Kentucky. Additionally, Plaintiffs Wurth, Egner, Tim

Sullivan, Tracy Sullivan, and Peck purchased the 303 THF Products at issue in Kentucky. Federal

jurisdiction is appropriate under the Class Action Fairness Act of 2005, 28 U.S.C. §1332(d).

       95.     With regard to the transferred action of Buford v. Smitty’s Supply, Inc., et al. Case

No. 1:19-cv-00082-BRW ( E.D. Ark.), the United States District Court for the Eastern District of

Arkansas is an appropriate venue for trial because the false representations, deceptive, dishonest,

and misleading practices and the unjust enrichment occurred in the Eastern District of Arkansas

and elsewhere. The United States District Court for the Eastern District of Arkansas has personal

jurisdiction over Defendants Smitty’s, Cam2, Tractor Supply, Orscheln, and Atwoods because

those Defendants transact business in Arkansas, through their various advertising methods and



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product sales directed toward Arkansas.       Additionally, Plaintiffs Buford, Anderson, Boyd,

Hargraves, Harrison, and Snyder purchased the 303 THF Products at issue in Arkansas. Federal

jurisdiction is appropriate under the Class Action Fairness Act of 2005, 28 U.S.C. §1332(d).

       96.     With regard to the transferred action of Mabie v. Smitty’s Supply, Inc., et al., Case

No. 4:19-cv-03308 (S.D. Tex.), the United States District Court for the Southern District of Texas

is an appropriate venue for trial because the false representations, deceptive, dishonest, and

misleading practices and the unjust enrichment occurred in the Southern District of Texas and

elsewhere. The United States District Court for the Southern District of Texas has personal

jurisdiction over Defendants Smitty’s, Cam2, Tractor Supply, Orscheln, and Atwoods because

those Defendants transact business in Texas, through their various advertising methods and

product sales directed toward Texas. Additionally, Plaintiffs Mabie and Denton purchased the 303

THF Products at issue in Texas. Federal jurisdiction is appropriate under the Class Action Fairness

Act of 2005, 28 U.S.C. §1332(d).

       97.     With regard to the transferred action of Blackmore, et al. v. Smitty’s Supply, Inc.,

et al., Case No. 5:19-cv-04052 (N.D. Iowa), the United States District Court for the Northern

District of Iowa is an appropriate venue for trial because the false representations, deceptive,

dishonest, and misleading practices and the unjust enrichment occurred in the Northern District of

Iowa and elsewhere. The United States District Court for the Northern District of Iowa has

personal jurisdiction over Defendants Smitty’s, Cam2, Tractor Supply, and Orscheln because those

Defendants transact business in Iowa, through their various advertising methods and product sales

directed toward Iowa. Additionally, Plaintiffs Blackmore, Klingenberg, and Rupe purchased the

303 THF Products at issue in Iowa. Federal jurisdiction is appropriate under the Class Action

Fairness Act of 2005, 28 U.S.C. §1332(d).



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       98.     With regard to the transferred action of Fosdick, et al. v. Smitty’s Supply, Inc., et

al., Case No. 2:19-cv-01850-MCE-DMC (E.D. Cal.), the United States District Court for the

Eastern District of California is an appropriate venue for trial because the false representations,

deceptive, dishonest, and misleading practices and the unjust enrichment occurred in the Eastern

District of California and elsewhere. The United States District Court for the Eastern District of

California has personal jurisdiction over Defendants Smitty’s, Cam2, and Tractor Supply because

those Defendants transact business in California, through their various advertising methods and

product sales directed toward California. Additionally, Plaintiffs Fosdick and Kimmich purchased

the 303 THF Products at issue in California. Federal jurisdiction is appropriate under the Class

Action Fairness Act of 2005, 28 U.S.C. §1332(d).

       99.     With regard to the transferred action of Klingenberg v. Smitty’s Supply, Inc., et al.,

Case No. 19-cv-2684-ECT/ECW (D. Minn.), the United States District Court for the District of

Minnesota is an appropriate venue for trial because the false representations, deceptive, dishonest,

and misleading practices and the unjust enrichment occurred in the District of Minnesota and

elsewhere. The United States District Court for the District of Minnesota has personal jurisdiction

over Defendants Smitty’s, Cam2, and Tractor Supply because those Defendants transact business

in Minnesota, through their various advertising methods and product sales directed toward

Minnesota. Additionally, Plaintiff Klingenberg purchased the 303 THF Products at issue in

Minnesota. Federal jurisdiction is appropriate under the Class Action Fairness Act of 2005, 28

U.S.C. §1332(d).

       100.    With regard to the transferred action of Graves, et al. v. Smitty’s Supply, Inc., et al.,

Case No. 4:19-cv-05089-SRB (W.D.Mo.), the United States District Court for the Western

District of Missouri is an appropriate venue for trial because the false representations, deceptive,



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dishonest, and misleading practices and the unjust enrichment occurred in the Western District of

Missouri and elsewhere. The United States District Court for the Western District of Missouri has

personal jurisdiction over Defendants Smitty’s, Cam2, Tractor Supply, Orscheln, Rural King, and

Atwoods because those Defendants transact business in Missouri, through their various advertising

methods and product sales directed toward Missouri. Additionally, Plaintiffs Graves, Nash, and

Vilela purchased the 303 THF Products at issue in Missouri. Federal jurisdiction is appropriate

under the Class Action Fairness Act of 2005, 28 U.S.C. §1332(d).

       101.    With regard to the transferred action of Feldkamp, et al. v. Smitty’s Supply, Inc., et

al., Case No. 2:20-cv-02177-CSB-EIL, the United States District Court for the Central District of

Illinois is an appropriate venue for trial because the false representations, deceptive, dishonest, and

misleading practices and the unjust enrichment occurred in the Central District of Illinois and

elsewhere. The United States District Court for the Central District of Illinois has personal

jurisdiction over Defendants Smitty’s, Cam2, Tractor Supply, Orscheln, and Rural King because

those Defendants transact business in Illinois, through their various advertising methods and

product sales directed toward Illinois. Additionally, Plaintiffs Feldkamp, Lesko, Fohne, Burgdorf,

Allicks, and Twin Mills purchased the 303 THF Products at issue in Illinois. Federal jurisdiction

is appropriate under the Class Action Fairness Act of 2005, 28 U.S.C. §1332(d).

       102.    With regard to the claims directly filed in this CAC, the following are the respective

appropriate venues for trial:

           (a) Plaintiff Brian Nelms and the Alabama Purchases Sub-Class: United States District

               Court, Northern District of Alabama;

           (b) Plaintiff Ross Waterman and the Colorado Purchases Sub-Class: United States

               District Court, District of Colorado;



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    (c) Plaintiff Todd Carusillo and the Connecticut Purchases Sub-Class: United States

       District Court, District of Connecticut;

    (d) Plaintiff Charles Strickland and the Florida Purchases Sub-Class: United States

       District Court, Middle District of Florida;

    (e) Plaintiffs Anthony Shaw, Rusty Shaw, and the Georgia Purchases Sub-Class:

       United States District Court, Middle District of Georgia

    (f) Plaintiff Frank James and the Indiana Purchases Sub-Class: United States District

       Court, North District of Indiana;

    (g) Plaintiff Douglas Clough and the Michigan Purchases Sub-Class: United States

       District Court, Western District of Michigan;

    (h) Plaintiff Samuel Blakeney and the Mississippi Sub-Class: United States District

       Court, Southern District of Mississippi;

    (i) Plaintiffs Larry Wyatt Loeffler, Jay Simpson, and the Nebraska Purchases Sub-

       Class: United States District Court, District of Nebraska;

    (j) Plaintiffs Sawyer Dean and the New York Purchases Sub-Class: United States

       District Court, Northern District of New York;

    (k) Plaintiffs Justin Lemonds, Sigmon Entities, Steve Upchurch, William White, and

       the North Carolina Purchases Sub-Class: United States District Court, Middle

       District of North Carolina;

    (l) Plaintiffs Robert Gosche, Brian Hayes, Matt Ortner, and the Ohio Purchases Sub-

       Class: United States District Court, Southern District of Ohio;

    (m) Plaintiffs Arno Graves, Ron Nash, and the Oklahoma Purchases Sub-Class --




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           (n) Plaintiff Kyle Minich and the Pennsylvania Purchases Sub-Class: United States

               District Court, Western District of Pennsylvania;

           (o) Plaintiff Mike Ping and the South Carolina Purchases Sub-Class: United States

               District Court, District of South Carolina;

           (p) Plaintiff Patrick Gisi and the South Dakota Purchases Sub-Class: United States

               District Court, District of South Dakota;

           (q) Plaintiffs William James, Jerry Terry, and the Tennessee Purchases Sub-Class:

               United States District Court, Middle District of Tennessee;

           (r) Plaintiffs Roger Bias, Clinton Curry, and the West Virginia Purchases Sub-Class:

               United States District Court, Southern District of West Virginia; and,

           (s) Plaintiffs Michael Hamm, Dale Wendt, and the Wisconsin Purchases Sub-Class:

               United States District Court, Eastern District of Wisconsin.

                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       103.    Defendants Tractor Supply, Rural King, Orscheln, and Atwoods are in the business

of selling and advertising for sale certain merchandise or retail products in trade or commerce at

retail stores throughout the United States.

       104.    Defendant Smitty’s (which as set forth above, includes Cam 2) is in the business of

manufacturing certain merchandise or retail products which are to be sold in trade or commerce at

retail stores and through distributors throughout the United States.

       105.    Defendant Cam 2 is in the business of manufacturing certain merchandise or retail

products which are to be sold in trade or commerce at retail stores and through distributors

throughout the United States.




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       106.    During some or all of the time period from 2013 to present, Defendants Tractor

Supply, Rural King, Orscheln, Atwoods, and other retailers sold and advertised in yellow buckets

the 303 THF Products. These products were sold throughout the United States.

       107.    During some or all of the time period from 2013 to the present, Defendants Smitty’s

and Cam2 manufactured and advertised these 303 THF Products which were sold by Tractor

Supply, Rural King, Orscheln, Atwoods, , and other retailers.

                 Defendants’ Deceptive Labeling, Marketing and Advertising

       108.    During some or all of the time from 2013 to the present, Defendants offered the 303

THF Products for sale at stores all over the United States as products suitable for use as tractor

hydraulic fluid and as fluids that provided certain performance benefits and met or had equivalency

to a wide number of manufacturers’ specifications. The average sale price for a five (5) gallon

bucket of Defendants’ 303 THF Products was generally between $20.00 and $25.00.

       109.    Defendants falsely and deceptively labeled, marketed and offered for sale the 303

THF Products, including (1) as meeting manufacturer specifications and being acceptable for use

as hydraulic fluid, transmission fluid, and gear oil in older tractors and other equipment; (2) as a

substitute for and satisfying John Deere’s JD-303 and J20A specifications; (3) as a fluid that

provides extreme pressure and anti-wear protection for tractor transmission, axles and hydraulic

pumps; (4) as a fluid that protects against rust and corrosion; and (5) as a fluid designed for use in

equipment manufactured by Allis-Chalmers, Massey Ferguson, Deutz, JI Case/David Brown,

Allison, International Harvester, White, Kubota, John Deere, Oliver, Ford and Caterpillar.

       110.    Defendants’ labeling, marketing, advertising and sale of the 303 THF Products was

widespread, continuous and contained on various signs, labels and advertisements throughout the

United States for years.



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       111.    Up until late 2017 or early 2018, Defendants’ Cam2 ProMax 303 Tractor Hydraulic

Oil was specifically labeled, marketed and advertised as follows:




       112.    These representations were also contained in Defendants’ advertising circulars

and/or on Defendants’ websites, such as the following:




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       113.   Up until late 2017 or early 2018, Defendants’ Super S Super Trac 303 Tractor

Hydraulic Fluid was specifically labeled, marketed and advertised as follows:




       114.   The Super S Super Trac 303 buckets contain the following, similar information:




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       115.   These representations regarding Super S Supertrac 303 Tractor Hydraulic Fluid

were also contained in Defendants’ advertising circulars and/or on Defendants’ websites.

       116.   Defendants’ labeling thus specifically represented that the 303 THF Products being

sold were acceptable for use and were:

                      •   Field Tested

                      •   Suitable as a replacement fluid for the following manufacturers where
                          a tractor hydraulic fluid of this quality if recommended: Allis
                          Chalmers, Allison, Caterpillar, Deutz, Ford Tractor, International
                          Harvester, JI Case/David Brown, John Deere 303, Kubota, Massey
                          Ferguson, Oliver, White

                      •   Providing excellent results in the areas of:
                                1. Anti-wear properties
                                2. Brake Chatter
                                3. Extreme Pressure Properties
                                4. Foam Suppression

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                                   5. PTO Clutch Performance
                                   6. Rust Protection
                                   7. Water Sensitivity

       117.    By naming, labeling, marketing, advertising and selling the 303 THF Products in

the foregoing manner, and by describing the products using words such as “303” and “multi-

functional,” Defendants sought to create, and did create, an image of the 303 THF Products in the

minds of Plaintiffs and other purchasers that would lead a reasonable purchaser to conclude that

Defendants’ 303 THF Products were completely safe and effective for use in their equipment and

in all equipment made by the listed manufacturers.

       118.    Defendants’ name, labeling, advertising and marketing of their 303 THF Products

were material to the reasonable purchaser.

       119.    At the time of Defendants’ labeling, advertisements, marketing and other

representations, and as Defendants already knew or should have known, the representations

regarding 303 THF Products were false, deceptive and misleading to consumers and others seeking

to purchase tractor hydraulic fluid.

       120.    The John Deere “303” designation is over 50 years old and has been obsolete for

many years. Certain ingredients of the original John Deere 303 fluid—such as sperm whale oil—

have been banned since the 1970s and are no longer available for use. As a result, manufacturers

have been unable to make and sell true “303” fluid for over forty (40) years and there are no longer

any specifications for 303 fluid. Defendants knew or should have known that at the time they

were marketing and selling the 303 THF Products during the Class Period, there were no

specifications available for “303” tractor hydraulic fluid and, therefore, claims that the 303 THF

Products met “303” specifications could not possibly be true, and Defendants had no way to ensure




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the accuracy of representations that their 303 THF Products were in compliance with any known

specifications and in fact knew their 303 THF Products did not meet the J20A specifications.

       121.    As Defendants knew, or should have known, the 303 THF Products manufactured

by Defendants and sold in the yellow buckets lacked some or all of the additives required to

provide the advertised “results,” “features” and “benefits.”

       122.    As Defendants knew, or should have known, the 303 THF Products manufactured

by Defendants and sold in the yellow buckets were made using flush oil, line wash, used

transformer oil, used turbine oil, and/or other waste oil products containing motor oil components

and other additives and contaminants that are never appropriate for use in a tractor hydraulic fluid.

       123.    As Defendants knew, or should have known, the 303 THF Products manufactured

by Defendants and sold in the yellow buckets did not meet or have an equivalency to all current

specifications (and failed to meet certain obsolete specifications) for any manufacturers of farm,

logging and construction equipment. Alternatively, Defendants knew, or should have known, they

had no basis on which to sell the 303 THF Products as a tractor hydraulic fluid that met or had an

equivalency to the specifications of all manufacturers listed on the label because, on information

and belief, either 1) Defendants’ test data showed the viscosity, pour point and additive levels of

the 303 THF Products varied, were inconsistent, and did not meet some or all of the specifications

of the manufacturers listed on the labels; or 2) Defendants did not have any test data to confirm

the 303 THF Products always had the viscosity, pour point or additive levels that met all

manufacturers’ specifications or that were needed for a fluid suitable for use in purchasers’

equipment.

       124.    At no point in time on the label of the 303 THF Products did Defendants tell

purchasers the truth, including that:



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           (a) The “303” specification does not exist, is obsolete, could not be tested, and

              true 303 fluid was banned in the 1970s;

           (b) Defendants used low quality base oil, flush oil, line wash, used transformer

              oil, used turbine oil or other reclaimed oil in the 303 THF Products, all of

              which are unfit for use in hydraulic systems and should never be contained

              in a tractor hydraulic fluid;

           (c) The 303 THF Products contained a “down-treated” and/or no additive

              package;

           (d) Defendants’ test data did not confirm that the 303 THF Products met all

              manufacturers’ specifications, including the advertised J20A specification;

           (e) Defendants have no idea whether the 303 THF Products they offered for

              sale met the requirements of, has acceptable anti-wear properties, or is

              suitable for use in tractors or other equipment; and

           (f) The 303 THF Products may expose purchasers’ equipment to increased

              wear and damage.

        125. Instead, the 303 THF Products were deceptively offered for sale as fluids containing

quality base oils, sufficient additives, and meeting or having equivalency to the obsolete J20A

specification, the long-defunct and now non-existent “303” specification and many other

equipment manufacturer specifications.

                         The State of Missouri’s Testing of 303 THF

       126.   Because of the poor, uncertain quality of 303 tractor hydraulic fluids and the

deceptive way in which they are manufactured and sold, several private and governmental entities

have been concerned about the sale of the fluids, the misleading nature of the labeling, and the



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damage the fluids can do to tractors and other equipment. The Missouri Department of Agriculture

(MDA) is one such entity.

       127.    In the summer of 2017, the MDA sampled fourteen (14) different “303” tractor

hydraulic fluid products, many of which claimed to meet manufacturers’ specifications and

claimed to work in almost every tractor. Defendants’ 303 THF Products Super S Supertrac 303

and Cam2 Promax 303 were purchased in Missouri by the MDA in 2017 and were two of the

products tested.

       128.    The MDA tested the fluids’ viscosity, pour point, and additive and detergent levels

to determine whether those levels met any current industry tractor hydraulic fluid specifications,

namely, John Deere’s J20C specifications.

       129.    As a result of the testing, the MDA concluded that all fourteen (14) of these “303”

tractor hydraulic fluid products failed to meet any current specifications and were found to be

underperforming to the point that damage was likely to result from use.

       130.    Defendants’ 303 THF Products were two of the fluids that failed to meet current

specifications. More specifically, Defendants’ Super S Supertrac 303 THF Product had a viscosity

(Kinematic Viscosity @ 100C) level of 7.647, and Cam2 Promax 303 THF Product had a viscosity

(Kinematic Viscosity @ 100C) level of 7.633. The J20C and J20A specifications for KV@100C

requires a minimum of 9.1 and therefore Defendants’ 303 THF Products fell short of the standard.

       131.    Defendants’ 303 THF Products were also found to have additive levels of calcium,

phosphorous and zinc that were well below (50% or more less than) the additive levels found in

fluids meeting the J20C specification.




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          132.   Furthermore, Defendants’ 303 THF Products’ Kinematic Viscosity @ 100C level

did not meet many or all of the specifications of the other manufacturers Defendants listed on the

labels and advertising of their 303 THF Products, including the J20A specification.

          133.   The MDA’s tests also indicated that Defendants’ THF Products used waste, or “line

flush” oil, which contain ingredients inappropriate for use in a tractor hydraulic fluid.

          134.   In or around October 2017, the MDA notified Defendants, by letter, of its findings

regarding the 303 THF Products in the marketplace. The MDA notified Defendants it concluded

the 303 THF Products were mislabeled, misbranded, that the labels were deceptive and misleading,

and that the products were exposing equipment to increased wear and damage. As a result, the

MDA ordered Defendants to stop selling their 303 THF Products in Missouri.

          135.   Defendants’ misrepresentations and omissions, and the fact of injury to Plaintiffs

and the Classes, were not reasonably ascertainable to Class Members. Defendants concealed any

internal test data and the truth about the 303 THF Products at all relevant times during the Class

Period.

           Defendants Continue to Sell the Deceptive, Poor Quality 303 THF Products

          136.   Despite receipt of the MDA’s stop sale notices, test results and concerns regarding

the damage that was being caused to equipment, Defendants continued to manufacture and sell the

products in states that had not banned the products. Defendants did not in any way change the

formula of the 303 THF Products after the State of Missouri’s ban.

          137.   Rather than pull the 303 THF Products off the market in all states, Defendants

decided to continue to sell the 303 THF Products. Other than the slight name changes, they made

one additional change: the colorful photos of modern tractors were removed from the labels and

were replaced with older, simpler tractors. However, in all other respects, the 303 THF Products



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were made with the same formula, processes, and improper ingredients, and the labels continued

to deceptively list the “303” designation, the equipment manufacturers’ names, and the false and

misleading claims of field testing and performance results.

       138.    Despite the MDA findings, Defendants continued to sell the 303 THF Products and

make those representations about the quality and performance properties of the product even

though they knew the product did not meet or have an equivalency to any manufacturer

specifications and that they did not have any data or evidence on which to base or substantiate the

performance qualities represented on the label.

       139.    Smitty’s had no support for its claims of performance, yet Defendants continued to

sell the product to purchasers throughout the United States as a fluid recommended for use in

almost all manufacturers’ equipment, with representations of excellent performance in the areas

of anti-wear properties, brake chatter, extreme pressure properties, foam suppression, PTO clutch

performance, rust protection and water sensitivity.

       140.    In 2018, in stark contrast to the quality represented to purchasers, Smitty’s knew

and discussed internally that the 303 THF Products did not provide adequate wear protection and

that the products could lead to excess deposit buildup inside transmissions and other parts of

equipment.

       141.    Defendants did not take any action to inform purchasers of the State of Missouri’s

testing and findings concerning Defendants’ 303 THF Products.

               Plaintiffs’ Experience with Defendants’ Labeling and Products

       142.    Plaintiffs each purchased Defendants’ 303 THF Products on numerous occasions.

Plaintiffs each paid an average price of $20 to $25 per 5-gallon bucket.




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       143.    As with all Members of the Class, in the period prior to the filing of this Class

Action, Plaintiffs purchased Defendants’ 303 THF Products containing the label representations

set forth above.

       144.    Plaintiffs Allicks Excavating and Ellen Allicks purchased one of Defendants’ 303

THF Products. In the time period of December 2013 to the present, Plaintiffs Allicks and Allicks

Excavating purchased 5-gallon buckets of the Cam2 Pro Tech 303 Tractor Hydraulic Oil and Cam2

303 Tractor Hydraulic Oil at the Rural King retail store located in Peru, Illinois. The 303 THF

Product was used by Plaintiffs Allicks and Allicks Excavating in excavating equipment.

       145.    Plaintiff William Anderson purchased Defendants’ 303 THF Products in buckets at

the Atwoods store in Lonoke, Arkansas and at the Tractor Supply Company store in Stuttgart,

Arkansas. The 303 THF Product was used in Plaintiff Anderson’s John Deere and Case tractors,

as well as other equipment.

       146.    Plaintiff Roger Bias purchased Defendants’ 303 THF Products. In the time period

of December 1, 2013 to the present, Plaintiff Bias purchased Defendants’ THF Products at the

Tractor Supply Company store in West Virginia. The 303 THF Products were used by Plaintiff

Bias in his tractor and other equipment.

       147.    Plaintiff Terry Blackmore purchased Defendant’s 303 THF Products in Iowa and

used the 303 THF Products in heavy machinery and other equipment.

       148.    Plaintiff Samuel Blakeney purchased Defendants’ 303 THF Products. In the time

period of December 1, 2013 to the present, Plaintiff Blakeney purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Laurel, Mississippi. The 303 THF Products were

used by Plaintiff Blakeney in his John Deere 5520, John Deere 5085, John Deere 955, Caterpillar

320C, Caterpillar D3 and other equipment.



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       149.    Plaintiff George Bollin purchased Defendants’ 303 THF Products. In the time

period since December 1, 2013, Plaintiff Bolin purchased several 5-gallon buckets of the Super S

SuperTrac 303 THF Product and the Super S 303 THF Product at the Tractor Supply Company

store and the Orscheln Store located in Lansing, Kansas. The 303 THF Product was used by

Plaintiff Bollin in his John Deere tractor, International tractor, and other equipment.

       150.    Plaintiff Kyle Boyd purchased Defendants’ 303 THF Products in buckets at the

Tractor Supply Company store in Harrison, Arkansas. The 303 THF Product was used in Plaintiff

Boyd’s Ford, Deutz, and Kubota tractors and Plaintiff’s combines.

       151.    Plaintiff Sean Buford purchased Defendants’ 303 THF Products in buckets at the

Tractor Supply Company store in Newport, Arkansas. The 303 THF Product was used in Plaintiff

Buford’s John Deere tractors and Plaintiff’s combines.

       152.    Plaintiff Steve Burgdorf purchased one of Defendants’ 303 THF Products. In the

time period of December 1, 2013 to the present, Plaintiff Burgdorf purchased 5-gallon buckets of

the Super S Supertrac 303 Tractor Hydraulic Fluid and Super S 303 Tractor Hydraulic Fluid at the

Tractor Supply Company Store located in Belleville, Illinois. The 303 THF Products were used

by Plaintiff Burgdorf in his two tractors.

       153.    Plaintiff Todd Carusillo purchased Defendants’ 303 THF Products. In the time

period of December 1, 2013 to the present, Plaintiff Carusillo purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Barkhamstead, Connecticut. The 303 THF

Products were used by Plaintiff Carusillo in his International 706 tractor, Kubota tractor, excavator

and other equipment.

       154.    Plaintiff Douglas Clough purchased Defendants’ 303 THF Products. In the time

period of December 1, 2013 to the present, Plaintiff Clough purchased Defendants’ 303 THF



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Products at the Tractor Supply Company store in Cadillac, Michigan. The 303 THF Products were

used by Plaintiff Clough in his John Deere tractor and other equipment.

       155.    Plaintiff Clinton Curry most recently purchased Defendants’ 303 THF Products in

at the Rural King retail store in Cross Lanes, West Virginia. The 303 THF Product was used in

Plaintiff’s 200 Kumatsu Excavator.

       156.    Plaintiff Sawyer Dean purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Dean purchased Defendants’ 303 THF Products

at the Tractor Supply Company stores in Queensbury and Greenwich, New York. The 303 THF

Products were used by Plaintiff Dean in his Ford TW-35 tractor, Ford A-64 payloader,

International 1086, John Deere 2440 tractor and other equipment.

       157.    Plaintiff Daniel Denton purchased Defendants 303 THF products several times in

the state of Texas, most recently in 2018 at the Tractor Supply Company store in Magnolia, Texas.

The 303 THF Product was used in Plaintiff Denton’s John Deere tractors, for personal use around

his home and property in Plantersville, Texas.

       158.    Plaintiff Kirk Egner purchased one of Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Egner purchased several 5-gallon buckets of

Defendants’ 303 Products at the Rural King retail store and the Tractor Supply Company store in

Paducah, Kentucky. The 303 THF Product was used by Plaintiff Egner in his tractor and other

equipment.

       159.    Plaintiff Kyle Feldkamp purchased one of Defendants’ 303 THF Products. In the

time period of Spring 2014 to the present, Plaintiff Feldkamp purchased several 5-gallon buckets

of the Cam2 Pro Tech 303 Tractor Hydraulic Oil and the Cam2 303 Tractor Hydraulic Oil at the




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Rural King retail store located in Effingham, Illinois. The 303 THF Product was used by Plaintiff

Feldkamp in his tractor and other equipment.

       160.    Plaintiff Norman Fohne purchased one of Defendants’ 303 THF Products. In the

time period of December 2013 to the present, Plaintiff Fohne purchased 5-gallon buckets of the

Cam2 Promax 303 Tractor Hydraulic Oil and the Cam2 303 Tractor Hydraulic Oil at the Rural

King retail store located in Collinsville, Illinois. Also, in the time period of December 2013 to the

present, Plaintiff Fohne purchased 5-gallon buckets of the Super S Supertrac 303 Tractor

Hydraulic Fluid and Super S 303 Tractor Hydraulic Fluid at the Tractor Supply Company store in

Belleville, Illinois. The 303 THF Products were used by Plaintiff Fohne in his tractor.

       161.    Plaintiff Duane Fosdick purchased Defendants’ 303 THF Products at the Tractor

Supply Company store in Chico, California. The 303 THF Products were used in Plaintiff

Fosdick’s farm and other equipment.

       162.    Plaintiff Patrick Gisi purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Gisi purchased Defendants’ THF Products at the

Runnings store in Aberdeen, South Dakota. The 303 THF Products were used by Plaintiff Gisi in

his International 706 Tractor.

       163.    Plaintiff Robert Gosche purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Gosche purchased Defendants’ 303 THF

Products at the Tractor Supply Company store and the Rural King retail store in Tiffin, Ohio. The

303 THF Products were used by Plaintiff Gosche in his John Deere excavator and other equipment.

       164.    Plaintiff Arno Graves purchased Defendants’ 303 THF Products. On several

occasions in the time period of 2013 through 2017, Plaintiff Graves purchased 5-gallon buckets of

the Cam2 ProMax 303 Tractor Hydraulic Oil Product at the Atwoods retail store located in Webb



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City, Missouri and at the Tiff Store in Tiff City, Missouri. In the time period of December of 2013

to the present, Plaintiff Graves has also purchased Defendants’ THF Products at the Tractor Supply

Company store in Miami, Oklahoma and at the Atwoods store in Vinita, Oklahoma. The 303 THF

Products were used by Plaintiff Graves in his John Deere 2030, Case 480E Backhoe, and 1066

International Farmall tractor.

       165.    Plaintiff Michael Hamm purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Hamm purchased Defendants’ 303 THF Products

at the Tractor Supply Company store in New London, Wisconsin. The 303 THF Products were

used by Plaintiff Hamm in his International 1086 tractor, International 1486 tractor, International

1440 combine, IH 756 tractor, IH 106 tractor and other equipment.

       166.    Plaintiff Alan Hargraves purchased Defendants’ 303 THF Products in buckets at

the Tractor Supply Company store in Greenwood, Arkansas and at Discount Ag in Marvel,

Arkansas. The 303 THF Product was used in Plaintiff Hargraves’ John Deere tractor.

       167.    Plaintiff Jeffery Harrison purchased Defendants’ 303 THF Products in buckets at

the Atwoods stores in Hot Springs and Arkadelphia, Arkansas. The 303 THF Product was used in

Plaintiff Harrison’s Case and Ford tractors, as well as other equipment.

       168.    Plaintiff Brian Hayes purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Hayes purchased Defendants’ THF Products at the Rural

King retail store in Circleville, Ohio. The 303 THF Products were used by Plaintiff Hayes in his

tractor and other equipment.

       169.    Plaintiff Frank James purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Frank James purchased Defendants’ 303 THF Products




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at the Tractor Supply Company store and the Rural King retail store in Lafayette, Indiana. The

303 THF Products were used by Plaintiff Frank James in his excavators and other equipment.

       170.    Plaintiff William James purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff James purchased Defendants’ THF Products at

the Tractor Supply Company store and the Rural King retail store in Crossville, Tennessee. The

303 THF Products were used by Plaintiff James in his tractor and other equipment.

       171.    Plaintiff Jack Kimmich purchased Defendants’ 303 THF Products at the Tractor

Supply Company store in Gilroy, California. The 303 THF Products were used in Plaintiff

Kimmich’s farm equipment.

       172.    Plaintiff Jason Klingenberg purchased Defendants’ 303 THF Products at the

Tractor Supply Company store in Worthington, Minnesota. Plaintiff Klingenberg also purchased

Defendant’s 303 THF Products in Iowa.         The 303 THF Products were used by Plaintiff

Klingenberg in his heavy machinery and equipment.

       173.    Plaintiff Justin Lemonds purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Lemonds purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Biscoe, North Carolina. The 303 THF Products

were used by Plaintiff Lemonds in his Massey Ferguson 3635 tractor, Long 260 tractor, Ford 7000

tractor, John Deere 250 loader.

       174.    Plaintiff Josh Lesko purchased one of Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Lesko purchased several 5-gallon buckets of the

Cam2 Promax 303 Tractor Hydraulic Oil and the Cam2 303 Tractor Hydraulic Oil at the Rural

King retail store located in Plano, Illinois. The 303 THF Product was used by Plaintiff Lesko in

his New Holland and John Deere tractors, dump trucks and boom trucks, and other equipment.



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        175.    Plaintiff Larry Wyatt Loeffler purchased Defendants’ 303 THF Products. In the

time period of December 2013 to the present, Plaintiff Loeffler purchased Defendants’ 303 THF

Products at Bomgaars in Scottsbluff, Nebraska. The 303 THF Products were used by Plaintiff

Loeffler in his tractor.

        176.    Plaintiff Jacob Mabie purchased Defendants’ 303 THF Products in March of 2017

at the Tractor Supply Company store in Baytown, Texas. The 303 THF Product was used in

Plaintiff Mabie’s truck, tractor, skid steer, brush-hog, and woodcutter.

        177.    Plaintiff Kyle Minich purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Minich purchased Defendants’ 303 THF Products at

the Tractor Supply Company store in Clarion, Pennsylvania. The 303 THF Products were used by

Plaintiff Minich in his tractors and other equipment.

        178.    Plaintiff Ron Nash purchased Defendants’ 303 THF Products.            On several

occasions in the time period of 2013 through 2017, Plaintiff Nash purchased 5-gallon buckets of

the Cam2 ProMax 303 Tractor Hydraulic Oil Product at the Atwoods retail store located in Webb

City, Missouri. In the time period of December of 2013 to the present, Plaintiff Nash has also

purchased Defendants’ THF Products at the Atwoods store in Vinita, Oklahoma. The 303 THF

Products were used by Plaintiff Nash in his International Harvester Backhoe, International Farmall

Tractor, Allis Chalmers Backhoe, and other equipment.

        179.    Plaintiff Bryan Nelms purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Nelms purchased Defendants’ THF Products at

the Logan’s Auto Parts in Fayette, Alabama. The 303 THF Products were used by Plaintiff Nelms

in his Ford 3000 tractor and other equipment.




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       180.     Plaintiff Matt Ortner purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Ortner purchased Defendants’ THF Products at the

Rural King retail store in Circleville, Ohio. The 303 THF Products were used by Plaintiff Ortner

in his tractor and other equipment.

       181.    Plaintiff Ricky Peck purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Peck purchased several 5-gallon buckets of Defendants’

303 Products at the Rural King retail store and the Tractor Supply Company store in Paducah,

Kentucky. The 303 THF Product was used by Plaintiff Peck in his tractor and other equipment.

       182.    Plaintiff Mike Ping purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Ping purchased Defendants’ 303 THF Products at the

Tractor Supply Company store in Rock Hill, South Carolina. The 303 THF Products were used

by Plaintiff Ping in his New Holland skid steer and tractor.

       183.    Plaintiff Stanley Richardson purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Richardson purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Marshall, Texas. The 303 THF Products were

used by Plaintiff Richardson in his Ford tractor and other equipment.

       184.    Plaintiff Wayne Rupe purchased Defendant’s 303 THF Products in Iowa and used

the 303 THF Products in heavy machinery and other equipment.

       185.    Plaintiff Adam Sevy purchased Defendants’ 303 THF Products. In 2018 and 2019,

Plaintiff Sevy purchased several 5-gallon buckets of the Super S 303 THF Product at the Orscheln

retail store located in Louisburg, Kansas. The 303 THF Product was used by Plaintiff Sevy in his

Ford 4000 Tractor, Allis 940 wheel loader, John Deere 240 Skid Steer, Ford L8000 dump truck,

and hydraulic concrete buggy.



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       186.   Plaintiff Anthony Shaw purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Anthony Shaw purchased Defendants’ THF

Products at the Tractor Supply Company store in Byron, Georgia. The 303 THF Products were

used by Plaintiff Anthony Shaw in his John Deere 4020 tractor, John Deere 4840 tractor and other

equipment.

       187.   Plaintiff Rusty Shaw purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Rusty Shaw purchased Defendants’ THF Products at

the Tractor Supply Company store in Byron, Georgia. The 303 THF Products were used by

Plaintiff Rusty Shaw in his John Deere 2350 tractor, John Deere 3010 tractor, Masset Ferguson 65

tractor and other equipment.

       188.   Plaintiff John Sigmon Entities purchased Defendants’ 303 THF Products. In the

time period of December 2013 to the present, John Sigmon Entities purchased Defendants’ 303

THF Products at the Tractor Supply Company store in Newton, North Carolina. The 303 THF

Products were used by Plaintiff John Sigmon Entities in tractors, loaders, skidders, and other

equipment.

       189.   Plaintiff Jay Simpson purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Simpson purchased Defendants’ THF Products at the

Orscheln store in Auburn, Nebraska. The 303 THF Products were used by Plaintiff Simpson in

his New Holland and Ford tractors, as well as other equipment.

       190.   Plaintiff Donald Snyder purchased Defendants’ 303 THF Products in buckets at the

Atwoods store in Harrison, Arkansas. The 303 THF Product was used in Plaintiff Snyder’s New

Holland Backhoe.




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       191.   Plaintiff Charles Strickland purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Strickland purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Lake City, Florida. The 303 THF Products were

used by Plaintiff Strickland in his Branson 2910 tractor and other equipment.

       192.   Plaintiff Tim Sullivan purchased one of Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Tim Sullivan purchased several 5-gallon buckets

of Defendants’ 303 Products at the Tractor Supply Company store in Paducah, Kentucky. The

303 THF Product was used by Plaintiff Sullivan in his tractor and other equipment.

       193.   Plaintiff Tracy Sullivan purchased one of Defendants’ 303 THF Products. In the

time period of December 2013 to the present, Plaintiff Tracy Sullivan purchased several 5-gallon

buckets of Defendants’ 303 Products at the Rural King retail store and the Tractor Supply

Company store in Paducah, Kentucky. The 303 THF Product was used by Plaintiff Sullivan in his

tractor and other equipment.

       194.   Plaintiff Jerry Terry purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Terry purchased Defendants’ 303 THF Products at a

Tractor Supply Company store and a Rural King retail store in Mississippi. The 303 THF Products

were used by Plaintiff Terry in his Massey Ferguson tractors.

       195.   Plaintiff Twin Mills Timber & Tie Co., Inc. purchased one of Defendants’ 303 THF

Products. In the time period of December 2013 to the present, Plaintiff Twin Mills Timber

purchased hundreds of 5-gallon buckets of the Cam2 Pro Tech 303 Tractor Hydraulic Oil at the

Rural King retail store located in Benton, Illinois. The 303 THF Product was used by Plaintiff

Twin Mills Timber in John Deere forklifts, skidders, Caterpillars, and other equipment.




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       196.   Plaintiff Steve Upchurch purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Upchurch purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Biscoe, North Carolina. The 303 THF Products

were used by Plaintiff Upchurch in his Massey Ferguson 3635 tractor, Long 260 tractor, Ford 7000

tractor, John Deere 250 loader and other equipment.

       197.   Plaintiff Randy Vilela purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Vilela purchased Defendants’ THF Products at

the Atwoods in Webb City, Missouri. The 303 THF Products were used by Plaintiff Vilela in his

950 Caterpillar and other equipment.

       198.   Plaintiff Ross Waterman purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff Waterman purchased Defendants’ 303 THF

Products at the Tractor Supply Company store in Bennett, Colorado, at Bomgaars in Burlington,

Colorado, and at Orscheln in Goodland, Kansas.      The 303 THF Products were used by Plaintiff

Waterman in his tractor and other equipment.

       199.   Plaintiff Dale Wendt purchased Defendants’ 303 THF Products. In the time period

of December 2013 to the present, Plaintiff Wendt purchased Defendants’ 303 THF Products at

Fleet Farm in Waupaca and Appleton, Wisconsin. The 303 THF Products were used by Plaintiff

Wendt in his skid steer and hydraulic manure spreader.

       200.   Plaintiff William White purchased Defendants’ 303 THF Products. In the time

period of December 2013 to the present, Plaintiff White purchased Defendants’ 303 THF Products

at the Tractor Supply Company store in Lincolnton and Shelby, North Carolina. The 303 THF

Products were used by Plaintiff White in his Ford 1720 tractor and other equipment.




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       201.    Plaintiff Dwayne Wurth purchased one of Defendants’ 303 THF Products. In the

time period of December 2013 to the present, Plaintiff Wurth purchased several 5-gallon buckets

of the Cam2 Pro Tech 303 Tractor Hydraulic Oil at the Rural King retail store located in Paducah,

Kentucky. The 303 THF Product was used by Plaintiff Wurth in his Caterpillar Skid Steers and

other equipment.

       202.    Plaintiff Terry Zornes purchased Defendants’ 303 THF Products. In the fall of 2017

and throughout 2018, Plaintiff Zornes purchased at least eight 5-gallon buckets of the Super S

SuperTrac 303 Product at the Orscheln retail store located in Iona, Kansas. The 303 THF Product

was used by Plaintiff Zornes in his Caterpillar track loader.

       203.    As a result of Defendants’ manufacturing and offering the 303 THF Products for

sale, Plaintiffs purchased a tractor hydraulic fluid that was falsely and deceptively offered for sale

as a “303” fluid that contained quality base oils and additives, met or had an equivalency to

required specifications and was safe for use in equipment when, in reality, the fluid offered was of

uncertain quality, lacked adequate viscosity and additives, contained line wash or flush oil, had a

value much less than the price offered for sale, and was likely to expose equipment to increased

risk of wear and damage.

       204.    Plaintiffs reasonably relied upon Defendants’ representation that the fluid was a

“303” fluid and Defendants’ own labeling, statements and advertisements concerning the

particular qualities and benefits of the 303 THF Products.

       205.    All reasonable purchasers would consider based on the label that Defendants’ 303

THF Products were suitable for use in tractors and other equipment and would not have any

understanding or way to know that Defendants’ 303 THF Products were of uncertain quality,

lacked adequate viscosity and additives, contained line wash or flush oil, had a value much less



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than the price offered for sale, and/or that use of Defendants’ 303 THF Products would expose all

equipment to increased wear and damage.

       206.    A reasonable purchaser would consider Defendants’ labeling, statements and

advertisements when looking to purchase a tractor hydraulic fluid. As a result of using Defendants’

303 THF Products, Plaintiffs and Class Members: (a) paid a sum of money for a product that was

not as represented; (b) received a lesser product than labeled, advertised and marketed; (c) were

deprived of the benefit of the bargain because the 303 THF Products were different than what

Defendants represented; (d) were deprived of the benefit of the bargain because the 303 THF

Products had less value than what was represented; (e) did not receive a product that measured up

to their expectations as created by Defendants; and/or (f) suffered increased and excessive wear

and/or damage to their equipment, including damage to gears, seals and hydraulic systems.

       207.    When Defendants manufactured, named, labeled, marketed, advertised, distributed,

and sold Plaintiffs and Class Members their 303 THF Products, Defendants knew or should have

known that the products (1) did not meet or have an equivalency to manufacturer specifications

and were not acceptable for use as hydraulic fluid, transmission fluid, and gear oil in older tractors

and other equipment; (2) were not an adequate substitute for and did not satisfy John Deere’s JD-

303 or J20A specifications; (3) were not adequate to provide extreme pressure and anti-wear

protection for tractor transmission, axles and hydraulic pumps; (4) were not adequate to protect

against rust and corrosion; and (5) were not appropriate for use in equipment of manufacturers

including Allis-Chalmers, Massey Ferguson, Deutz, JI Case/David Brown, Allison, International

Harvester, White, Kubota, John Deere, Oliver, Ford and Caterpillar.

       208.    Plaintiffs used the 303 THF Products in the manner in which Defendants advised

they could and should be used.



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       209.    As a result of Defendants’ 303 THF Products not meeting or being equivalent to

specifications as labeled, advertised, marketed, warranted, and promised, Defendants violated

consumer protection acts, breached express and implied warranties, fraudulently or negligently

induced Plaintiffs and Class Members to purchase their products through material

misrepresentations, acted in a negligent manner, and were unjustly enriched.

       210.    Defendants’ manufacture, labeling, and sale of the 303 THF Products was deceptive

and misleading in at least the following respects:

           (a) Defendants’ use of “303” in the name of the products was deceptive and

               misleading. The 303 THF Products did not use John Deere 303’s formula

               and would not meet the specifications for John Deere 303. Defendants

               packaged their 303 THF Products in the yellow bucket with illustrations of

               modern tractors and equipment so as to further deceive and mislead and

               create the impression that the 303 THF Products were legitimate tractor

               hydraulic fluids that met the specifications for John Deere 303 and other

               John Deere equipment.

           (b) Defendants placed a deceptive and misleading statement on the product

               labels by claiming that John Deere 303 is one of the specifications for which

               the 303 THF Products were “[s]uitable as a replacement fluid for the

               following manufacturers where a tractor hydraulic fluid of this quality is

               recommended.”

           (c) Defendants placed a deceptive and misleading statement on the product

               labels by claiming that J20A is one of the specifications for which the 303

               THF Products were “[s]uitable as a replacement fluid for the following



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       manufacturers where a tractor hydraulic fluid of this quality is

       recommended.”

    (d) Defendants placed a deceptive and misleading statement on the product

       labels by listing eleven (11) other manufacturers as those for which the 303

       THF Products were “[s]uitable as a replacement fluid for the following

       manufacturers where a tractor hydraulic fluid of this quality is

       recommended,”       without       specifying     the   equipment/specifications

       purportedly met for each of those eleven (11) manufacturers.

    (e) Defendants engaged in deceptive and misleading conduct in failing to

       provide an adequate notice, disclaimer, or warning on the labels.

    (f) Defendants placed a deceptive and misleading statement on the product

       labels by listing manufacturers of equipment in which the 303 THF

       Products purportedly may be used, when in reality the product did not meet

       many of the specifications for the listed manufacturers’ modern or older

       model equipment.

    (g) Defendants made a deceptive and misleading statement on the product

       labels by representing that the product had been field tested.

    (h) Defendants made a deceptive and misleading statement on the product

       labels when claiming that the 303 THF Products “will provide excellent

       results in the areas of:

                                     Anti-wear properties
                                     Brake Chatter
                                     Extreme Pressure Properties
                                     Foam Suppression
                                     PTO Clutch Performance
                                     Rust Protection

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                                         Water Sensitivity”

           (i) Defendants engaged in misleading and deceptive conduct with regard to

               their 303 THF Products in failing to disclose that the products contained

               flush oil, line flush, waste oil and/or contained other materials that should

               never be contained in tractor hydraulic fluid.

       211.    The conduct listed in paragraph 210(a)-(i) constitutes deceptive and

unconscionable business practices in violation of consumer protection laws.

       212.    Defendants concealed any internal test data and the truth about the 303 THF

Products at all relevant times during the class period.                Accordingly, Defendants’

misrepresentations and omissions, and the fact of injury to Plaintiffs and the Class, were not

reasonably ascertainable to Plaintiffs and Class Members.

       213.    This action is brought by Plaintiffs against Defendants to recover all money paid

by Plaintiffs and Class Members to Defendants for purchase of their 303 THF Products which

were labeled, marketed, advertised, and sold in the dishonest, misleading, and deceptive manners

noted herein, for recovery of the damage caused to equipment owned by Plaintiffs and the Class

Members, for punitive damages, attorneys’ fees, costs, and for all other remedies available to those

aggrieved by Defendants’ conduct.

                              CLASS ACTION ALLEGATIONS

       214.    Plaintiffs bring this Class Action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, on behalf of themselves, on behalf of a Nationwide Class and on behalf of twenty-six

(26) state-specific Sub-Classes as defined below, to redress the wrongful conduct of Defendants

in connection with their manufacturing, marketing, and sale of the 303 THF Products.




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       215.    Plaintiffs seek, on behalf of themselves and all others similarly situated, relief for

Defendants’ negligence, breach of warranty, unjust enrichment, fraudulent and negligent

misrepresentations, and for their violations of various statutes.

       216.    Plaintiffs thus seek certification of the following Nationwide Class of similarly

situated persons:

               All persons and other entities who purchased Super S Supertrac 303
               Tractor Hydraulic Fluid, Super S 303 Tractor Hydraulic Fluid,
               Cam2 ProMax 303 Tractor Hydraulic Oil, and/or Cam2 303 Tractor
               Hydraulic Oil in the United States at any point in time from
               December 1, 2013 to present, excluding purchases of Super S
               Supertrac 303 Tractor Hydraulic Fluid made in Missouri.

       217.    Plaintiffs also seek certification of the following state-specific Sub-Classes of

similarly situated persons:

           (a) Alabama: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Alabama at any point in time
               from December 1, 2013 to present.

           (b) Arkansas: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Arkansas at any point in time
               from December 1, 2013 to present.

           (c) California: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in California at any point in time
               from December 1, 2013 to present.

           (d) Colorado: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Colorado at any point in time
               from December 1, 2013 to present.




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    (e) Connecticut: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Connecticut at any point in time
        from December 1, 2013 to present.

    (f) Florida: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Florida at any point in time from
        December 1, 2013 to present.

    (g) Georgia: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Georgia at any point in time
        from December 1, 2013 to present.

    (h) Illinois: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Illinois at any point in time from
        December 1, 2013 to present.

    (i) Indiana: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Indiana at any point in time from
        December 1, 2013 to present.

    (j) Iowa: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Iowa at any point in time from
        December 1, 2013 to present.

    (k) Kansas: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Kansas at any point in time from
        December 1, 2013 to present.

    (l) Kentucky: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or



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       Cam2 303 Tractor Hydraulic Oil in Kentucky at any point in time
       from December 1, 2013 to present.

    (m) Michigan: All persons and other entities who purchased Super S
       Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
       Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
       Cam2 303 Tractor Hydraulic Oil in Michigan at any point in time
       from December 1, 2013 to present.

    (n) Minnesota: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Minnesota at any point in time
        from December 1, 2013 to present.

    (o) Mississippi: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Mississippi at any point in time
        from December 1, 2013 to present.

    (p) Missouri: All persons and other entities who purchased Super S 303
        Tractor Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil,
        and/or Cam2 303 Tractor Hydraulic Oil in Missouri at any point in
        time from December 1, 2013 to present.

    (q) Nebraska: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Nebraska at any point in time
        from December 1, 2013 to present.

    (r) Ohio: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Ohio at any point in time from
        December 1, 2013 to present.

    (s) Oklahoma: All persons and other entities who purchased Super S
        Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
        Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
        Cam2 303 Tractor Hydraulic Oil in Oklahoma at any point in time
        from December 1, 2013 to present.

    (t) Pennsylvania: All persons and other entities who purchased Super
        S Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor

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               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Pennsylvania at any point in
               time from December 1, 2013 to present.

           (u) South Carolina: All persons and other entities who purchased Super
               S Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in South Carolina at any point in
               time from December 1, 2013 to present.

           (v) South Dakota: All persons and other entities who purchased Super
               S Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in South Dakota at any point in
               time from December 1, 2013 to present.

           (w) Tennessee: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Tennessee at any point in time
               from December 1, 2013 to present.

           (x) Texas: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Texas at any point in time from
               December 1, 2013 to present.

           (y) West Virginia: All persons and other entities who purchased Super
               S Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in West Virginia at any point in
               time from December 1, 2013 to present.

           (z) Wisconsin: All persons and other entities who purchased Super S
               Supertrac 303 Tractor Hydraulic Fluid, Super S 303 Tractor
               Hydraulic Fluid, Cam2 ProMax 303 Tractor Hydraulic Oil, and/or
               Cam2 303 Tractor Hydraulic Oil in Wisconsin at any point in time
               from December 1, 2013 to present.

       218.    Excluded from the Class and Sub-Classes are those who purchased the 303 THF

Products for resale.




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       219.    Also excluded from the Class and Sub-Classes are Defendants, including any

parent, subsidiary, affiliate or controlled person of Defendants; Defendants’ officers, directors,

agents, employees and their immediate family members, as well as the judicial officers assigned

to this litigation and members of their staffs and immediate families.

       220.    The 303 THF Products at issue were sold across the United States through retailers.

The Class Members may be identified through use of sales receipts, affidavits, or through sales

records.

       221.    The proposed Class and Sub-Classes are so numerous that joinder of all Class

Members and Sub-Class Members is impracticable. Although the exact number of Members of

each Class and Sub-Class is not known at this time, there are thousands of Members of the Class

and each Sub-Class.

       222.    There are questions of fact and law common to the Class and each Sub-Class which

predominate over questions affecting only individual Class Members. The questions of law and

fact common to each Class and Sub-Class arising from Defendants’ actions include, without

limitation, the following:

           (a) The components and qualities of Defendants’ 303 THF Products, and the
               cost to Defendants to manufacture, distribute, market and sell their 303 THF
               Products;

           (b) Whether Defendants were unjustly enriched;

           (c) Whether Defendants were negligent;

           (d) Whether Defendants breached the express warranties provided with regard
               to the 303 THF Products;

           (e) Whether Defendants breached the implied warranty of merchantability with
               regard to the 303 THF Products;

           (f) Whether Defendants breached the implied warranty of fitness for particular
               purpose with regard to the 303 THF Products;

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           (g) Whether Defendants deliberately failed to disclose material facts to
               consumers regarding the quality of the 303 THF Products and the obsolete
               nature of the products and the specifications the products claimed to meet;

           (h) Whether Defendants’ manufacturing, labeling, advertising, marketing,
               and/or sale of their 303 THF Products was deceptive, unfair, and/or
               dishonest as alleged above;

           (i) Whether Defendants’ 303 THF Products were being labeled, advertised and
               marketed as alleged above;

           (j) Whether Defendants’ 303 THF Products in actuality were as alleged above;

           (k) Whether Defendants studied or tested their labeling and the effect of the
               labeling on consumers’ perceptions, and whether Defendants studied the
               susceptibility of consumers who might purchase tractor hydraulic fluid;

           (l) Whether Defendants’ representations regarding their 303 THF Products
               were false and made knowingly by Defendants;

           (m) Whether Defendants’ representations were false and made negligently by
               Defendants; and

           (n) Whether use of the 303 THF Products caused and/or exposed equipment to
               damage.

       223.    The claims of each representative Plaintiff are typical of those in the putative Class

and each respective Sub-Class because each purchased Defendants’ 303 THF Products and was

similarly treated.

       224.    Plaintiffs are adequate representatives of the Class and each respective Sub-Class

because their interests do not conflict with the interests of other Members of the Class or Sub-

Class. The interests of the other Class and Sub-Class Members will be fairly and adequately

protected by Plaintiffs and counsel, who have extensive experience prosecuting complex litigation

and class actions.

       225.    A Class Action is the appropriate method for the fair and efficient adjudication of

this controversy. It would be impracticable, cost prohibitive, and undesirable for each Member of

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the Class and each Sub-Class to bring a separate action. In addition, the presentation of separate

actions by individual Class and Sub-Class Members creates the risk of inconsistent and varying

adjudications, establishes incompatible standards of conduct for Defendants, and/or substantially

impairs or impedes the ability of Class Members to protect their interests. A single Class Action

can determine, with judicial economy, the rights of the Members of the Class and each Sub-Class.

       226.      A Class Action is superior with respect to considerations of consistency, economy,

efficiency, fairness and equity, to other available methods for the fair and efficient adjudication of

this controversy.

       227.      Class certification is also appropriate because Defendants have acted or refused to

act on grounds generally applicable to the Class and each Sub-Class. The Class Action is based on

Defendants’ acts and omissions with respect to the Class and each Sub-Class as a whole, not on

facts or law applicable only to the representative Plaintiffs. All Class and Sub-Class Members

who purchased Defendants’ products were treated similarly. Thus, all Class and Sub-Class

Members have the same legal right and interest in relief for damages associated with the violations

enumerated herein.

       228.      Class certification is also appropriate for class-wide injunctive relief pursuant to

Rule 23(b)(2).

       229.      Plaintiffs each assert in Counts I through VI, below, the following claims on behalf

of themselves and the Nationwide Class and, alternatively, each state Sub-Class:

                    •   Count I – Negligence

                    •   Count II – Breach of Express Warranty

                    •   Count III – Breach of Implied Warranty of Merchantability

                    •   Count IV – Breach of Implied Warranty of Fitness for Particular Purpose


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                  •   Count V – Unjust Enrichment

                  •   Count VI – Fraud/Misrepresentation

                  •   Count VII – Negligent Misrepresentation

       230.   Plaintiff Nelms asserts Counts I through VII on behalf of himself and the Alabama

Sub-Class.

       231.   Plaintiffs Buford, Anderson, Boyd, Hargraves, Harrison, and Snyder assert Counts

I through VII as well as the following on behalf of themselves and the Arkansas Sub-Class:

              Count VIII -- Arkansas Deceptive Trade Practices Act, § 4-88-101

       232.   Plaintiffs Fosdick and Kimmich assert Counts I through VII as well as the following

on behalf of themselves and the California Sub-Class:

              Count IX -- California Unfair Competition Law, California Civil Code
              §17200 et seq.

              Count X-- False and Misleading Advertising in Violation of California
              Business & Professions Code §17500 et seq.

              Count XI -- California Consumers Legal Remedies Act, California Civil
              Code §1750 et seq.

       233.   Plaintiff Waterman asserts Counts I through VII as well as the following on behalf

of himself and the Colorado Sub-Class:

              Count XII -- Colorado’s Consumer Protection Act, Colo. Rev. Stat. § 6-1-101,
              et seq.

       234.   Plaintiff Carusillo asserts Counts I through VII as well as the following on behalf

of himself and the Connecticut Sub-Class:

              Count XIII – Connecticut Consumer Protection Act, Conn. Gen. Stat. § 42-
              110g, et seq.

       235.   Plaintiff Strickland asserts Counts I through VII as well as the following on behalf

of himself and the Florida Sub-Class:

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               Count XIV -- Florida Deceptive and Unfair Trade Practices Act, Fla. Stat.
               § 501.201 et seq.

               Count XV -- Florida Misleading Advertising Law, Fla. Stat. § 817.41.

       236.    Plaintiffs Anthony Shaw and Rusty Shaw assert Counts I through VII on behalf of

themselves and the Georgia Sub-Class.

       237.    Plaintiffs Feldkamp, Lesko, Fohne, Burgdorf, Allicks, and Twin Mills assert

Counts I through VII as well as the following on behalf of themselves and the Illinois Sub-Class:

               Count XVI -- Illinois Consumer Fraud and Deceptive Business Practices
               Act, 815 ILCS 505/1 et seq.

       238.    Plaintiff Frank James asserts Counts I through VII as well as the following on

behalf of himself and the Indiana Sub-Class:

               Count XVII – Indiana Consumer Protection Act, Ind. Code § 24-5-0.5-5.

       239.    Plaintiffs Blackmore, Rupe, and Klingenberg assert Counts I through VII on behalf

of themselves and the Iowa Sub-Class.

       240.    Plaintiffs Zornes, Sevy, and Bollin assert Counts I through VII as well as the

following on behalf of themselves and the Kansas Sub-Class:

               Count XVIII – Kansas Consumer Protection Act, K.S.A. § 50-623 et seq.

       241.    Plaintiffs Wurth, Egner, Tim Sullivan, Tracy Sullivan, and Peck assert Counts I

through VII as well as the following on behalf of themselves and the Kentucky Sub-Class:

               Count XIX -- Kentucky Consumer Protection Act, Ky. Rev. Stat. §367.170
               (2015).

       242.    Plaintiff Clough asserts Counts I through VII as well as the following on behalf of

himself and the Michigan Sub-Class:

               Count XX – Michigan Consumer Protection Act, MCL 445.901 et seq.




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         243.   Plaintiff Klingenberg asserts Counts I through VII as well as the following on

behalf of himself and the Minnesota Sub-Class:

                Count XXI -- Minnesota Consumer Fraud Act, Minnesota statute § 325F.67
                et seq.

         244.   Plaintiff Blakeney asserts Counts I through VII on behalf of himself and the

Mississippi Sub-Class:

         245.   Plaintiffs Graves, Nash, and Vilela assert Counts I through VII as well as the

following claim on behalf of themselves and the Missouri Sub-Class:

                Count XXII – Missouri Merchandising Practices Act, Mo. Rev. Stat.
                §407.010

         246.   Plaintiffs Loeffler and Simpson assert Counts I through VII as well as the following

claims on behalf of themselves and the Nebraska Sub-Class:

                Count XXIII – Nebraska Consumer Protection Act, Neb. Rev. St. §§59-
                1601

                Count XXIV – Nebraska’s Uniform Deceptive Trade Practices Act, Neb.
                Rev. St. §§ 87-301 et seq.
         247.   Plaintiff Dean asserts Counts I through VII as well as the following claim on behalf

of himself and the New York Sub-Class:

                Count XXV -- New York Consumer Protection Law, N.Y.C.P.L.R. § 214,
                et seq.

         248.   Plaintiffs Lemonds, John Sigmon Entities, Upchurch and White assert Counts I

through VII as well as the following claim on behalf of themselves and the North Carolina Sub-

Class:

                Count XXVI -- North Carolina Consumer Protection Act, N.C.G.S. § 75-
                1.1 et seq.

         249.   Plaintiffs Gosche, Hayes and Ortner assert Counts I through VII as well as the

following claim on behalf of themselves and the Ohio Sub-Class:

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              Count XXVII – Ohio Consumer Sales Practices Act (“OCSPA”), R.C.
              1345.01

       250.   Plaintiffs Graves and Nash assert Counts I through VII as well as the following

claim on behalf of themselves and the Oklahoma Sub-Class:

              Count XXVIII –– Oklahoma Consumer Protection Statute.

       251.   Plaintiff Minich asserts Counts I through VII as well as the following on behalf of

himself and the Pennsylvania Sub-Class:

              Count XXIX – Pennsylvania Unfair Trade Practices and Consumer Protection Law,

              73 P.S. § 201-1, et. seq.

       252.   Plaintiff Ping asserts Counts I through VII on behalf of himself and the South

Carolina Sub-Class.

       253.   Plaintiff Gisi asserts Counts I through VII as well as the following claim on behalf

of himself and the South Dakota Sub-Class:

              Count XXX – South Dakota Consumer Protection Statute.

       254.   Plaintiff William James asserts Counts I through VII on behalf of himself and the

Tennessee Sub-Class.

       255.   Plaintiffs Mabie and Denton assert Counts I through VII as well as the following

claim on behalf of themselves and the Texas Sub-Class:

              Count XXXI – Texas Deceptive Trade Practices, Texas Business and
              Commerce Code § 17.41 et seq.

       256.   Plaintiffs Bias and Curry assert Counts I through VII as well as the following claim

on behalf of themselves and the West Virginia Sub-Class:

              Count XXXII – West Virginia Consumer Protection Statute, W. Va. Code
              Ann. § 55-2-12, et seq.




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       257.    Plaintiffs Hamm and Wendt assert Counts I through VII as well as the following

claim on behalf of themselves and the Wisconsin Sub-Class:

               Count XXXIII – Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18/.

                                              COUNT I
                                              Negligence

       258.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       259.    Defendants owed a duty of at least reasonable care to the purchasers of their 303

THF Products, including a duty to use reasonable care in the manufacture, sampling, testing,

labeling and marketing of the finished 303 THF Products.

       260.    Defendants breached this duty and were negligent by the acts and omissions alleged

herein, including but not limited to:

           (a) Distributing and using misleading labeling information regarding the 303

               THF Products qualities and OEM specifications met by the products;

           (b) Failing to adequately warn and instruct purchasers about the true nature of

               the 303 THF Products and potential harm to equipment caused by use of the

               303 THF Products in equipment for which it does not meet specifications;

           (c) Failing to adequately ensure the 303 THF Products manufactured and sold

               met or had an equivalency to the advertised specifications and/or were

               suitable for use as tractor hydraulic fluid;

           (d) Failing to utilize adequate testing and other controls to ensure the 303 THF

               Products met the advertised specifications and/or were suitable for use as

               tractor hydraulic fluid; and




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           (e) Instituting and/or allowing careless and ineffective product manufacturing

               protocols.

       261.    As a result of Defendants’ negligence, Defendants’ 303 THF Products had contents

and additives that varied, were unknown, were obsolete, did not possess the claimed protective

characteristics, were not suitable for use as tractor hydraulic fluid and/or did not meet one or more

of the manufacturers’ specifications.

       262.    Defendants’ negligence caused or contributed to cause injuries and damages to

Plaintiffs and the Class and Sub-Class Members and caused Plaintiffs’ and the Class and Sub-

Class Members’ equipment to suffer harm and damage, including wear, damage and leakage in

the seals, exposure to damage in the spiral gear in the drive, improper and poor shifting, wear and

damage to the wet brakes, high pump leakage, and damage from deposits, sludging and thickening.

Defendants’ negligence also caused or contributed to cause Plaintiffs and the Class and Sub-Class

Members to overpay for a product that was worthless and/or worth much less than the sale price.

       263.    Defendants concealed any internal test data and the truth about the 303 THF

Products at all relevant times during the class period.                 Accordingly, Defendants’

misrepresentations and omissions, and the fact of injury to Plaintiffs and the Class, were not

reasonably ascertainable to Plaintiffs or Class Members.

       264.    Plaintiffs and Class and Sub-Class Members are thus entitled to an award of

compensatory damages, prejudgment interest and post-judgment interest.

       265.    Defendants’ conduct was grossly negligent and showed a complete indifference to

or conscious disregard of the rights of others, including Plaintiffs and Class and Sub-Class

Members, such that punitive damages are thus warranted.




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                                         COUNT II
                                 Breach of Express Warranty

       266.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       267.   Plaintiffs and Class Members purchased Defendants’ 303 THF Products.

       268.   As set forth above, Defendants made common statements of facts regarding quality

and use in the name and on the label of the 303 THF Products.

       269.   The common statements Defendants made in the name and on the label of the 303

THF Products were made to induce Plaintiffs and Class and Sub-Class Members to purchase the

303 THF Products and/or were a material factor in inducing Plaintiffs and Class and Sub-Class

Members to purchase the 303 THF Products, and therefore became part of the basis of the benefit

of the bargain and an express warranty.

       270.   As set forth above, the THF 303 Products did not conform to the statements of

Defendants. As a result, Plaintiffs and the Class and Sub-Class Members did not receive goods as

warranted by Defendants.

       271.   Defendants have received from Plaintiffs timely notification of the defects in their

THF 303 Products.

       272.   The failure of the THF 303 Products to conform to the statements of Defendants

has caused injury and damage to Plaintiffs and Class and Sub-Class Members.

                                       COUNT III
                      Breach of Implied Warranty of Merchantability

       273.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.




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        274.    Defendants directly or indirectly sold the 303 THF Products to Plaintiffs and Class

and Sub-Class Members for use as described above.

        275.    As set forth above, at the time Defendants sold the 303 THF Products, the products

were not fit for their ordinary use and the use described by Defendants.

        276.    Plaintiffs and Class and Sub-Class Members used the 303 THF Products for their

ordinary purpose and the use described by Defendants.

        277.    Defendants have received from Plaintiffs timely notification of the defects in their

303 THF Products.

        278.    The failure of the 303 THF Products to be fit for their ordinary purpose has caused

injury and damage to Plaintiffs and Class and Sub-Class Members.

                                       COUNT IV
                Breach of Implied Warranty of Fitness for Particular Purpose

        279.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

        280.    Defendants directly or indirectly sold the 303 THF Products to Plaintiffs and Class

and Sub-Class Members for use as described above.

        281.    As set forth above, at the time Defendants sold the 303 THF Products, the products

were not fit for their particular purpose for use as universal hydraulic fluid for tractors and/or other

equipment.

        282.    Defendants knew or should have known of the uses for which the 303 THF Products

were purchased.

        283.    Plaintiffs and Class and Sub-Class Members reasonably relied upon Defendants’

judgment that the 303 THF Products were fit for use as universal hydraulic fluid for tractors and/or

other equipment.

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       284.    Defendants have received from Plaintiffs timely notification of the defects in their

303 THF Products.

       285.    The failure of the 303 THF Products to be fit for their particular purpose has caused

injury and damage to Plaintiffs and Class and Sub-Class Members.

                                          COUNT V
                                       Unjust Enrichment

       286.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       287.    As a result of Defendants’ deceptive, fraudulent, and misleading naming, labeling,

advertising, marketing, and sales of the 303 THF Products, Plaintiffs and the Class and Sub-Class

Members purchased Defendants’ 303 THF Products and conferred a benefit upon Defendants by

purchasing obsolete, worthless and harmful fluid, which benefit Defendants appreciated and

accepted.

       288.    Those benefits were obtained by Defendants under false pretenses because of

Defendants’ concealments, misrepresentations, and other deceptive, misleading, and unfair

conduct relating to the 303 THF Products.

       289.    Defendants were enriched at the expense of Plaintiffs and other Class and Sub-

Class Members through the payment of the purchase price for Defendants’ 303 THF Products.

       290.    As a direct and proximate result of Defendants’ wrongful conduct and unjust

enrichment, Plaintiffs and Class and Sub-Class Members have suffered damages in an amount to

be determined at trial.

       291.    Under the circumstances, it would be against equity and good conscience to permit

Defendants to retain the ill-gotten benefits that they received from Plaintiffs and the other Class

and Sub-Class Members, in light of the fact that the 303 THF Products purchased by Plaintiff and

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the other Members of the Class and Sub-Classes were not what Defendants represented them to

be. Thus, it would be inequitable or unjust for Defendants to retain the benefit without restitution

to Plaintiffs and the other Members of the Class and Sub-Classes for the monies paid to Defendants

for the 303 THF Products.

       292.    By reason of the foregoing, Defendants should be required to account for and

disgorge all monies, profits, and gains which they have obtained at the expense of Plaintiffs and

Class and Sub-Class Members.

                                         COUNT VI
                                 Fraudulent Misrepresentation

       293.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       294.    Defendants made representations regarding their 303 THF Products, as set forth

above, including without limitation the representations that the 303 THF Products were fit to be

used in older tractors and other equipment, that the 303 THF Products met or had an equivalency

to specifications, and that the 303 THF Products provided certain qualities, results and benefits.

       295.    Defendants’ representations as set forth above, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met or had an equivalency to specifications, and that the 303 THF

Products provided certain qualities, results and benefits, and Defendants’ failure to inform

consumers of the true nature of the product and the obsolete specifications, were false and made

knowingly by Defendants, and were therefore fraudulent.

       296.    Defendants’ representations as set forth above, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

and that the 303 THF Products met or had an equivalency to specifications, that the 303 THF

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Products provided certain qualities, results and benefits, and Defendants’ failure to inform

consumers of the true nature of the product and the obsolete specifications, were made by each

Defendant with the intent that Plaintiffs and other Class and Sub-Class Members rely on such

representations.

       297.    Defendants’ representations as set forth above, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met or had an equivalency to specifications, that the 303 THF Products

provided certain qualities, results and benefits, and Defendants’ failure to inform consumers of the

true nature of the product and the obsolete specifications, were made by each Defendant despite

knowing the representations were false at the time the representations were made, and/or without

knowledge of the truth or falsity of the representations.

       298.    Defendants’ representations were material to the purchase of the 303 THF Products.

       299.    Plaintiffs and Class and Sub-Class Members relied on Defendants’ representations,

and such reliance was reasonable under the circumstances.

       300.    Defendants’ conduct as set forth herein with regard to the name, labeling, marketing

and sale of the 303 THF Products constitutes fraud on Plaintiffs and all Class and Sub-Class

Members.

       301.    Plaintiffs and Class and Sub-Class Members have been economically damaged by

Defendants’ fraudulent conduct with regard to the marketing and sale of the 303 THF Products.

       302.    As a direct and proximate result of Defendants’ illegal conduct, Plaintiffs and Class

and Sub-Class Members have suffered ascertainable losses of money and other damages.

       303.    Defendants concealed any internal test data and the truth about the 303 THF

Products at all relevant times during the class period.                 Accordingly, Defendants’



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misrepresentations and omissions, and the fact of injury to Plaintiffs and the Class and Sub-

Classes, were not reasonably ascertainable to Plaintiffs and Class Members.

       304.     Defendants’ conduct as described herein was intentional and/or in reckless

disregard for the rights of Plaintiffs and other Class and Sub-Class Members.

       305.     Defendants’ conduct is such that an award of punitive damages against each

Defendant is appropriate.

                                         COUNT VII
                                  Negligent Misrepresentation

       306.     Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       307.     Defendants made representations regarding their 303 THF Products, as set forth

above, including without limitation the representations that the 303 THF Products were fit to be

used in older tractors and other equipment, that the 303 THF Products met or had an equivalency

to specifications, and that the 303 THF Products provided certain qualities, results and benefits.

       308.     Such representations were made by Defendants with the intent that Plaintiffs and

the Class and Sub-Class Members rely on such representations in purchasing Defendants’ 303

THF Products.

       309.     Such representations were material to Plaintiffs’ and the Class and Sub-Class

Members’ purchase of Defendants’ 303 THF Products.

       310.     Such representations were false.

       311.     Defendants failed to use ordinary care and were negligent in making and/or

allowing to be made the representations set forth above.

       312.     Plaintiffs and the Class and Sub-Class Members relied on such representations and

such reliance was reasonable under the circumstances.

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       313.    Plaintiffs and Class and Sub-Class Members have been economically damaged by

Defendants’ negligent conduct with regard to the marketing and sale of the 303 THF Products.

       314.    Defendants concealed any internal test data and the truth about the 303 THF

Products at all relevant times during the class period.              Accordingly, Defendants’

misrepresentations and omissions, and the fact of injury were not reasonably ascertainable to

Plaintiffs and the Class and Sub-Classes.

       315.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiffs and

Class and Sub-Class Members have suffered ascertainable losses of money.

       316.    Defendants concealed any internal test data and the truth about the 303 THF

Products at all relevant times during the class period.              Accordingly, Defendants’

misrepresentations and omissions, and the fact of injury to Plaintiffs and the Class and Sub-

Classes, were not reasonably ascertainable to Plaintiffs and Class Members.

       317.    Defendants’ conduct as described herein was intentional and/or in reckless

disregard for the rights of Plaintiffs and other Class and Sub-Class Members.

       318.    Defendants’ conduct is such that an award of punitive damages against each

Defendant is appropriate.

                                       COUNT VIII
                    Violation of Arkansas Deceptive Trade Practices Act

       319.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       320.    The Arkansas Deceptive Trade Practices Act, § 4-88-101, et. seq. (the “Act”),

prohibits unfair or deceptive acts or practices in connection with a consumer transaction. For

example, the Act prohibits suppliers from representing that goods have characteristics or uses or

benefits which they do not have. The Act also prohibits suppliers from representing that their

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products or goods are of a particular standard, quality, or grade they are not; that the products or

goods have been supplied in accordance with a previous representation, if they have not; and that

the transaction involves a warranty, rights, remedies, or obligations if that representation is false.

       321.    Defendants’ actions as described throughout this Consolidated Amended

Complaint violate the Act, specifically A.C.A. §§ 4-88-107(a)(1), (a)(3), and (a)(10); as well as

the provisions found in A.C.A. § 4-88-108(a)(1) and (a)(2).

       322.    Defendants have violated (and continue to violate) each one of these provisions by

misrepresenting that the 303 THF Products have or had certain characteristics, are or were of a

particular standard, quality, or grade, and committed and continue to commit various other acts of

deception, false pretense, false promise, or misrepresentations in connection with consumer

transactions, including, among other things:

           (a) Manufacturing, selling and/or distributing 303 THF Products that fail to

               meet product specifications as generally understood in the industry;

           (b) Manufacturing, importing, selling and/or distributing 303 THF Products

               that fail to comply with all applicable laws and regulations; and

           (c) Making false and misleading statements and omitting to disclose material

               information regarding defects in their 303 THF Products including, without

               limitation, the representations that the 303 THF Products were fit to be used

               in older tractors and other equipment, that the 303 THF Products met or had

               an equivalency to specifications, and that the 303 THF Products provided

               certain qualities, results and benefits.

       323.    Plaintiffs and members of the Arkansas Sub-Class have suffered actual financial

loss as a result of Defendants’ misconduct as alleged herein. Plaintiffs and other members of the



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Arkansas Sub-Class paid for defective products based on their reliance on Defendants’

representations that the 303 THF Products were fit for their intended use as found on Defendants’

packaging, in their advertising and marketing materials, and/or other publicly available

information.

       324.    Accordingly, Plaintiffs and the members of the Arkansas Sub-Class are entitled to

recover their damages, attorneys’ fees, and punitive damages pursuant to A.C.A. § 4-88-113.

                                           COUNT IX
                      Violation of the California Unfair Competition Law
                              California Civil Code §17200 et seq.

       325.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       326.    This Count is brought on behalf of the entire California Sub-Class.

       327.    The UCL prohibits any "unlawful," "fraudulent," or "unfair" business act or

practice and any false or misleading advertising. Cal. Bus. Prof. Code §17200.

       328.    Defendants’ business acts and practices complained of herein were centered in,

emanated from and were carried out, effectuated and perfected in the United States and from within

the State of California.

       329.    Beginning in at least December 2013, Defendants committed acts of unfair

competition, as defined by California Business and Professions Code § 17200 et seq., by engaging

in the acts and practices specified herein.

       330.    Defendants engaged in “unfair” and deceptive business acts and practices by,

among other things, marketing, distributing, and/or selling 303 THF Products, ostensibly under

and pursuant to California law while, in truth, intending to commit and in fact committing




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wholesale violations of California law, including the False Advertising act, the Consumer Legal

Remedies Act, and other violations relating to the misleading labelling of 303 THF Products.

       331.    Plaintiffs and all members of the California Sub-Class were harmed by Defendants’

aforementioned unlawful unfair and fraudulent business acts and practices occurring in the State

of California. As alleged herein, Plaintiffs have been victimized by, and have suffered injury in

fact and lost money or property as a result of, Defendants’ conduct associated with the distribution,

marketing, and sale of 303 THF Products.

       332.    Defendants’ actions and practices, as alleged in this Consolidated Amended

Complaint, were unfair, deceptive, misleading and likely to deceive the consuming public within

the meaning of Business & Professions Code §17200 et seq.

       333.    As stated in this Consolidated Amended Complaint, Defendants’ violations of

consumer protection laws and their unfair competition resulted in harm to consumers that is

ongoing. Defendants’ acts constitute violations of the unfair prong of Business & Professions

Code §17200 et seq.

       334.    There were reasonably available alternatives to further Defendants’ legitimate

business interests, other than the conduct described herein.

       335.    As a result of their deception, Defendants have been able to reap unjust revenue

and profit.

       336.    Plaintiffs, on behalf of themselves and all other California Sub-Class Members,

seek restitution and disgorgement of all money obtained from Plaintiffs and the members of the

Class collected as a result of Defendants’ misconduct and injunctive relief in the form of an order

prohibiting Defendants from undertaking such practices in the future and requiring Defendants to




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engage in and undertake corrective measures, and all such other and further relief this Court deems

appropriate, consistent with Business & Professions Code §17203.

                                         COUNT X
              False and Misleading Advertising in Violation of California Business
                              & Professions Code §17500 et seq.

       337.     Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       338.     This Count is brought on behalf of the entire California Sub-Class.

       339.     Throughout the period during which they have marketed, distributed, and/or sold

303 THF Products, Defendants engaged in unlawful and/or fraudulent conduct under California

Business & Professions Code §§ 17500, et seq., by engaging in the sale of 303 THF Products based

on publicly disseminated advertisements, and terms and conditions that Defendants knew or

reasonably should have known were unfair, deceptive, untrue and/or misleading. Defendants

committed such violations of the False Advertising Law with actual knowledge or knowledge

fairly implied on the basis of objective circumstances.

       340.     Defendants’ advertisements, representations, and labeling as described herein were

designed to, and did, result in the purchase and use of the 303 THF Products and Defendants

profited from the sales of these products to unwary consumers.

       341.     As a direct result of Defendants’ violations, Plaintiffs and the California Sub-Class

Members suffered injury in fact and lost money.

       342.     Accordingly, Plaintiffs, on behalf of themselves and all other California Sub-Class

Members, seek restitution and injunctive relief against Defendants in the form of an order

prohibiting Defendants from engaging in the alleged misconduct described herein, and other relief

as specifically prayed for herein.



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                                          COUNT XI
                       Violation of the Consumers Legal Remedies Act,
                              California Civil Code §1750 et seq.

       343.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       344.    This Count is brought on behalf of California Sub-Class Members who purchased

303 THF Products for personal, family, or household use.

       345.    Defendants are “persons” within the meaning of California Civil Code §§ 1761(c)

and 1770, and Defendants provide “goods” within the meaning of Civil Code §§ 1761(a) and 1770.

Defendants’ customers, including Plaintiffs and California Sub-Class Members, are “consumers”

within the meaning of Civil Code §§ 1761(d) and 1770. Each purchase of Defendants’ 303 THF

Products by Plaintiff and each California Sub-Class Member as alleged herein constitutes a

“transaction” within the meaning of Civil Code §§ 1761(e) and 1770. Each California Sub-Class

Member purchased goods from Defendants that was primarily for personal, family, or household

purposes.

       346.    The Consumer Legal Remedies Act makes it unlawful for a company to:

            (a) Misrepresent the certification of goods. Cal. Civ. Code § 1770(a)(2)(3);

            (b) Represent that goods have characteristics or approval that they do not have. Cal.

               Civ. Code § 1770(a)(5);

            (c) Represent that goods are of a particular standard, quality, or grade, if they are of

               another. Cal. Civ. Code § 1770(a)(7);

            (d) Advertise goods with intent not to sell them as advertised. Cal. Civ. Code §

               1770(a)(9); and,




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           (e) Represent that the subject of a transaction has been supplied in accordance with a

               previous representation when it has not. Cal. Civ. Code § 1770(a)(16).

       347.    Defendants’ conduct that violated and continues to violate the CLRA includes,

without limitation, deceptively representing that 303 THF Products meet or have an equivalency

to the obsolete and non-existent “303” designation, meet or have an equivalency to the other

obsolete J14B and J20A specifications, and/or provide the other advertised benefits and are

suitable for use as a tractor hydraulic fluid. This was deceptive because Defendants did not possess

generally accepted data to substantiate the claims on the product labels and because there is no

known “303” specification and there is no way for manufacturers, sellers, or anyone else to

truthfully claim the products meet or are in compliance with any such specification.

       348.    Defendants violated the CLRA by representing that 303 THF Products provided the

benefits listed on the label, were suitable for use as a tractor hydraulic fluid and/or met of had an

equivalency to the “303 designation,” as described above when it knew, or should have known,

that the representations and advertisements were unsubstantiated, false and misleading.

       349.    Throughout the period during which they have marketed, distributed, or sold and

offered for sale 303 THF Products, Defendants violated and continue to violate the above-

mentioned provisions.

       350.    As a direct and proximate result of Defendants' violations, Plaintiff Kimmich and

California Sub-Class Members have suffered and are continuing to suffer harm.

       351.    Defendants’ wrongful business practices constituted, and constitute, a continuing

course of conduct in violation of the CLRA because Defendants are continuing to engage in the

practices complained of herein and which have injured Plaintiffs and California Sub-Class

Members.



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        352.   Pursuant to §1782 of the CLRA, by letters dated September 13, 2019, counsel for

Plaintiff Kimmich notified Defendants in writing by certified mail of the particular violations of

§1770 of the CLRA and demanded that Defendants rectify the problems associated with the actions

detailed above and give notice to all affected consumers of its intent to so act. Copies of the letters

are attached hereto as “Exhibit A.”

        353.   Plaintiff Kimmich, on behalf of himself and other California Sub-Class Members

similarly situated, seeks a court order enjoining the above-described wrongful acts and practices

of Defendants and further seek an order and awards for restitution, disgorgement, and for such

other relief, including attorneys' fees and costs, as provided in Civil Code § 1780 and the Prayer

for Relief.

                                          COUNT XII
                      Violation of the Colorado Consumer Protection Act,
                                Colo. Rev. Stat. § 6-1-101, et seq.

        354.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

        355.   Defendants are designers, manufacturers, promoters, marketers, developers, sellers,

and/or distributors of the harmful 303 THF Products.

        356.   Defendants sold the harmful 303 THF Products in Colorado and throughout the

United States during the Class Period.

        357.   Defendants knew or should have known that the 303 THF Products caused their

customers, in reasonable probability, to be deceived.

        358.   Defendants have violated the Colorado Deceptive Trade Practice Act, Sec. 6-1-105.

In selling the 303 THF Products at issue to Plaintiff Waterman and the Members of the Colorado

Sub-Class, Defendants have used deception, fraud, false pretense, misrepresentation or the



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concealment, suppression or omission of material facts, either expressly or by implication, by the

representations and concealment set forth herein, including, without limitation, representing that

the 303 THF Products were fit to be used in older tractors and other equipment, that the 303 THF

Products met or had an equivalency to specifications, and that the 303 THF Products provided

certain qualities, results and benefits, and through Defendants’ failure to inform consumers of the

true nature of the product and the obsolete specifications.

       359.    Defendants intentionally and knowingly used deception, false pretense, false

promise, misrepresentation and/or concealment of material facts regarding the harmful 303 THF

Products with intent to mislead Plaintiff Waterman and Members of the Colorado Sub-Class.

       360.    As a result of Defendants’ unlawful business practices, Plaintiff Waterman and the

Members of the Colorado Sub-Class are entitled to an order enjoining such future conduct and to

such other orders and judgments which may be necessary to disgorge Defendants’ ill-gotten gains

and to restore to Plaintiff Waterman and Colorado Sub-Class Members any money paid for the

harmful 303 THF Products.

       361.    Plaintiff Waterman has standing to pursue this claim as he has suffered actual

economic damages as a proximate result of Defendants’ actions set forth herein.

                                        COUNT XIII
                    Violation of the Connecticut Consumer Protection Act,
                               Conn. Gen. Stat. § 42-110g, et seq.

       362.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       363.    Defendants are each a “person” as defined by Conn. Gen. Stat. § 42-110a(3).

       364.    Defendants are engaged in “trade” or “commerce” as those terms are defined by

Conn. Gen. Stat. § 42-110a(4).



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       365.    Plaintiffs has sent notice to the Attorney General and Commissioner of Consumer

Protection pursuant to Conn. Gen. Stat. § 42-110g(c). Plaintiffs will provide a file-stamped copy

of this Complaint to the Attorney General and Commissioner of Consumer Protection.

       366.    Defendants advertised, offered, or sold goods or services in Connecticut, and

engaged in trade or commerce directly or indirectly affecting the people of Connecticut.

       367.    Defendants engaged in deceptive acts and practices and unfair acts and practices in

the conduct of trade or commerce, in violation of Conn. Gen. Stat. § 42-110b, by misrepresenting

Defendants’ 303 THF Products, concealing the 303 THF Products’ defects, concealing the risks

associated with use of Defendants’ 303 THF Products, and also concealing and misrepresenting

the true nature of Defendants’ 303 THF Products.

       368.    As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiff Carusillo and the Connecticut Sub-Class Members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing Defendants’ 303 THF

Products, and increased time and expense in dealing with the damages from the use of Defendants’

303 THF Products.

       369.    Defendants’ deceptive acts and practices caused substantial, ascertainable injury to

Plaintiff Carusillo and the Connecticut Sub-Class Members, which they could not reasonably

avoid, and which outweighed any benefits to consumers or to competition.

       370.    Defendants’ violations of Connecticut law were done with reckless indifference to

the Plaintiff Carusillo and the Connecticut Sub-Class Members or were done with an intentional

or wanton violation of those rights.




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       371.    Plaintiff Carusillo and the Connecticut Sub-Class Members request damages in an

amount to be determined at trial, including statutory and common law damages, attorneys’ fees,

and punitive damages.

                                          COUNT XIV
              Violation of the Florida Deceptive and Unfair Trade Practices Act,
                                   Fla. Stat. § 501.201, et seq.

       372.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       373.    Violation No. 1 – Deceptive Acts or Practices. Plaintiff Strickland and the Florida

Sub-Class Members are “consumers” within the meaning of Part II of Chapter 501, Florida

Statutes, relating to Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”).

       374.    Defendants each qualify as a “person” or “entity” as used in the FDUTPA.

       375.    Pursuant to the FDUTPA, unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce are

unlawful.

       376.    As set forth above, Defendants have, in the course of trade or commerce, engaged

in unconscionable, unfair and/or deceptive acts or practices harming Plaintiff Strickland and

Members of the Florida Sub-Class, as described herein.

       377.    Plaintiff Strickland and Members of the Florida Sub-Class purchased the 303 THF

Products as part of a consumer transaction.

       378.    Defendants engaged in deceptive conduct in violation of FDUTPA when they made

representations and/or omissions regarding the usability and suitability of the 303 THF Products

that are likely to mislead consumes acting reasonably under the circumstances, to the consumer’s

detriment.



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       379.    In selling the 303 THF Products at issue to Plaintiff Strickland and the Members of

the Florida Sub-Class, Defendants have used deception, fraud, false pretense, misrepresentation or

the concealment, suppression or omission of material facts, either expressly or by implication, by

the representations and concealment set forth herein, including, without limitation, representing

that the 303 THF Products were fit to be used in older tractors and other equipment, that the 303

THF Products met or had an equivalency to specifications, and that the 303 THF Products provided

certain qualities, results and benefits, and through Defendants’ failure to inform consumers of the

true nature of the product and the obsolete specifications.

       380.    Defendants had a duty to disclose the material characteristics of their 303 THF

Products because they (i) knew about these characteristics at the time that Plaintiff Strickland and

other Florida Sub-Class Members purchased Defendants’ 303 THF Products; (ii) had exclusive

knowledge of material facts that were not known to Plaintiff Strickland and other Florida Sub-

Class Members; and (iii) made representations regarding the 303 THF Products without adequately

disclosing that their 303 THF Products were not suitable for use as tractor hydraulic fluid.

       381.    Reasonable consumers would, as a result of Defendants’ misrepresentations and

omissions, be misled and believe that the 303 THF Products were suitable for use as tractor

hydraulic fluid.

       382.    It is highly probable that these representations and omissions are likely to cause

injury to a reasonable consumer, and Defendants’ misrepresentations and omissions are likely to

mislead consumers.

       383.    As a direct and proximate result of Defendants’ deceptive conduct, Plaintiff

Strickland and other Florida Sub-Class Members have suffered damages.




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       384.    Plaintiff Strickland and the Florida Sub-Class Members have been injured in their

property by reason of Defendants’ deceptive acts alleged herein. The injury consists of purchasing

a worthless product that they would not have paid for in the absence of the deceptive acts, as well

as the damage done to tractors and other equipment. This injury is of the type that Fla. Stat. §

501.201, et. seq. was designed to prevent and directly results from Defendants’ deceptive and

unlawful conduct.

       385.    In addition to actual damages, Plaintiff Strickland and the Florida Sub-Class

Members are entitled to declaratory and injunctive relief as well as reasonable attorneys’ fees and

costs pursuant to Fla. Stat. § 501.201, et seq.

       386.    Violation No. 2 – Unfair Acts or Practices. Defendants further violated FDUTPA

by engaging in unfair practices against Plaintiff Strickland and the Florida Sub-Class Members.

       387.    Given the unsuitability of Defendants’ 303 THF Products for use as tractor

hydraulic fluid, Defendants’ sale of the 303 THF Products, especially accompanied by

misrepresentations and omissions as described herein, is a practice that is immoral, unethical,

oppressive, unscrupulous, and/or substantially injurious to consumers. Defendants have been

preying on consumers of their 303 THF Products, deceiving them into paying for an unsuitable

product.

       388.    The practices described herein also offend established public policy regarding the

protection of consumers against companies, like Defendants, who engage in unfair methods of

competition.

       389.    Defendants’ conduct, which caused substantial injury to Plaintiff Strickland and the

Florida Sub-Class Members, could have been avoided and is not outweighed by countervailing

benefits to any consumers or competitors.



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           390.   Defendants’ business acts and practices are also unfair because they have caused

harm and injury-in-fact to Plaintiff and Sub-Class Members and for which Defendants have no

justification other than to increase, beyond what Defendants would have otherwise realized, their

market share and revenue from the sale of 303 THF Products.

           391.   Defendants’ conduct lacks reasonable and legitimate justification. Defendants have

benefited from such conduct and practices while Plaintiff Strickland and Florida Sub-Class

Members have been misled as to the nature, suitability, and integrity of the 303 THF Products and

have lost money, including the purchase price of the 303 THF Products and the costs of common

repairs.

           392.   In addition, Defendants’ modus operandi constitutes an unfair practice in that

Defendants knew and should have known that consumers care about maintaining their tractors and

equipment but are unlikely to be aware of and/or able to detect the means by which Defendants

were conducting themselves in a manner adverse to their commitments and their customers’

interests.

           393.   While Defendants conveyed the impression to reasonable consumers that their 303

THF Products were safe to use in their tractors and other equipment, in actuality, their 303 THF

Products were not suitable for use as tractor hydraulic fluid.

           394.   The practices complained of herein are not limited to a single instance but are done

pervasively and uniformly at all times against Plaintiff Strickland and the Florida Sub-Class

Members.

           395.   As a direct and proximate result of Defendants’ unfair conduct, Plaintiff Strickland

and the Florida Sub-Class Members have suffered damages.




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       396.    Plaintiff Strickland and Florida Sub-Class Members have been injured in their

property by reason of Defendants’ unfair acts alleged herein. The injury consists of purchasing a

worthless product that they would not have paid for in the absence of the deceptive acts, as well

as the damage done to tractors and other equipment. This injury is of the type that Fla. Stat. §

501.201, et. seq. was designed to prevent and directly results from Defendants’ deceptive and

unlawful conduct.

       397.    In addition to actual damages, Plaintiff Strickland and the Florida Sub-Class

Members are entitled to declaratory and injunctive relief as well as reasonable attorneys’ fees and

costs pursuant to Fla. Stat. § 501.201, et seq.

       398.    Violation No. 3 – Unlawful Conduct Premised on MAL. Defendants further

violated FDUTPA by violating a “statute … which proscribes unfair methods of competition, or

unfair, deceptive, or unconscionable acts or practices.” Fla. Stat. 501.203(3)(c). Here, Defendants

violated Florida’s Misleading Advertising Law (Fla. Stat. 817.41), as described below.

       399.    Defendants’ misrepresentations, omissions, deceptive acts, unfair practices, and/or

violations of other rules or statutes, as described herein as violating FDUTPA, would deceive an

objectively reasonable consumer.

       400.    As a result of Defendants’ misrepresentations, omissions, deceptive acts, unfair

practices, and/or violations of other rules or statutes, Plaintiff Strickland and Florida Sub-Class

Members have suffered actual damages by losing money and by common damage to equipment.

Defendants’ 303 THF Products were worthless and thus Plaintiff Strickland and the Florida Sub-

Class Members’ damages are the purchase price of the product. Defendants 303 THF Products

were also commonly harmful to equipment.




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          401.   As a result of these FDUTPA violations, Plaintiff Strickland and Florida Sub-Class

Members are entitled to actual damages, attorneys’ fees, costs, declaratory relief, and injunctive

relief.

                                            COUNT XV
                      Violation of the Florida Misleading Advertising Law,
                                     Fla. Stat. § 817.41, et seq.

          402.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

          403.   Through the misrepresentations and omissions made on Defendants’ product labels

regarding the suitability of Defendants’ 303 THF Products for use as tractor hydraulic fluid,

Defendants unlawfully disseminated or caused to be made misleading advertisements in Florida,

in violation of Fla. Stat. 817.41.

          404.   Defendants’ misleading labels and advertising is described above and throughout

this Consolidated Amended Complaint.

          405.   The misrepresentations and omissions as to the suitability of Defendants’ 303 THF

Products for use as tractor hydraulic fluid are material to Plaintiff Strickland, the Florida Sub-Class

Members, and average consumers.

          406.   Defendants knew or should have known (through the exercise of reasonable case

or investigation) that the advertisements were false, untrue, or misleading.

          407.   Defendants’ misrepresentations and omissions were designed and intended, either

directly or indirectly, for obtaining money from Plaintiff Strickland and the Florida Sub-Class

Members under false pretenses by inducing them to purchase Defendants’ 303 THF Products.

Defendants intended that the representations would induce Plaintiff Strickland and the Florida

Sub-Class Members to rely upon it and purchase Defendants’ 303 THF Products.



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       408.    Plaintiff Strickland and the Florida Sub-Class Members relied to their detriment on

Defendants’ false advertising, by purchasing Defendants’ 303 THF Products that they would not

otherwise (but for the false advertising) have purchased.

       409.    Pursuant to Fla. Stat. 817.41, Plaintiff Strickland and the Florida Sub-Class

Members are entitled to costs, reasonable attorney’s fees, actual damages, and punitive damages.

       410.    Punitive damages are appropriate here, given that Defendants knowingly misled

consumers, including Plaintiff Strickland and the Florida Sub-Class Members, and engaged in the

willful, wanton, and/or reckless conduct described herein. Here, Defendants engaged in intentional

conduct (or alternatively, gross negligence) as to the misrepresentations and omissions concerning

the suitability of the 303 THF Products for use as tractor hydraulic fluid.

                                         COUNT XVI
      Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act,
                                    815 ILCS 505/1, et seq.

       411.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       412.    Plaintiffs and Illinois Sub-Class Members are “persons” and “consumers” under

the Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”), 815 ILCS 505/1 (c)

and (e).

       413.    Defendants engaged in “trade” or “commerce” within the meaning of the ICFA,

815 ILCS 505/1 (f).

       414.    Section 2 of the ICFA provides, in pertinent part:

       Unfair methods of competition and unfair or deceptive acts or practices, including
       but not limited to the use or employment or any deception, fraud, false pretense,
       false promise, misrepresentation or the concealment, suppression or omission of
       any material fact, with intent that others rely upon the concealment, suppression or
       omission of such material fact, or the use or employment of any practice described
       in Section 2 of the “Uniform Deceptive Trade Practices Act”, approved August 5,

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       1965, in the conduct of any trade or commerce are hereby declared unlawful
       whether any person has in fact been misled, deceived or damages thereby.”

       415.    Defendants sold the obsolete and harmful THF Products in Illinois and throughout

the United States during the Class Period.

       416.    Defendants’ sales of the THF Products meet the definition of “sale” within the

meaning of the ICFA, 815 ILCS 505/1 (d). Defendants’ THF Products at issue meet the definition

of “merchandise” for purposes of the ICFA, 815 ILCS 505/1 (b).

       417.    In selling their THF Products and by virtue of the conduct set forth above,

Defendants have used deception, fraud, false pretense, misrepresentation or the concealment,

suppression or omission of material facts, either expressly or by implication.

       418.    Defendants intentionally and knowingly used deception, false pretense, false

promise, misrepresentation and/or concealment of material facts regarding the 303 THF Products

with intent to mislead Plaintiffs and all Illinois Sub-Class Members.

       419.    At all times material hereto, it was reasonably foreseeable that Plaintiffs, and others

similarly situated, would rely on the false and fraudulent statements made by Defendants. Said

reliance has caused Plaintiffs, and others similarly situated, to be damaged.

       420.    The actions of Defendants were done willfully, intentionally and with reckless

disregard for harm that would be caused by Plaintiffs, and others similarly situated, and

Defendants’ conduct warrants imposition of exemplary damages to deter Defendants, and others

in similar circumstances, from committing such actions in the future.

       421.    In addition, as a result of Defendants’ unlawful, unfair and deceptive business

practices, Plaintiffs and Illinois Sub-Class Members, pursuant to 815 ILCS 505/1 (a), are entitled

to an order enjoining such future conduct and such other orders and judgments which may be




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necessary to disgorge Defendants’ ill-gotten gains and to restore Plaintiffs and Illinois Sub-Class

Members any money paid for the 303 THF Products.

       422.       Plaintiffs have standing to pursue this claim as each has suffered actual economic

damage as a proximate result of Defendants’ actions as set forth herein.

       423.       An award of punitive damages is also appropriate.

                                           COUNT XVII
                        Violation of the Indiana Consumer Protection Act,
                                   Ind. Code § 24-5-0.5-1, et seq.

       424.       Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       425.       Defendants are each a “person” as defined by Ind. Code § 24-5-0.5-2(a)(2).

Defendants are also each a “supplier” as defined by Ind. Code § 24-5-0.5-2(a)(3) because each

regular engages in or solicits “consumer transactions” within the meaning of Ind. Code § 24-5-

0.5-2(a)(3)(A).

       426.       Defendants engaged in unfair, abusive, and deceptive acts, omissions, and practices

in connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).

       427.       Defendants’ acts and practices were unfair because they caused or were likely to

cause substantial injury to consumers which was not reasonably avoidable by consumers

themselves and not outweighed by countervailing benefits to consumers or to competition. The

injury to consumers was and is substantial because it was non-trivial and non-speculative, and it

involved a monetary injury. The injury to consumers was substantial not only because it inflicted

har on a significant number of consumers, but also because it inflicted a significant amount of

harm on each consumer.




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        428.     Defendants’ acts and practices were “abusive” for numerous reasons: (a) because

they materially interfered with consumers’ ability to understand a term or condition in a consumer

transaction, interfering with consumers’ decision-making; (b) because they took unreasonable

advantage of consumers’ lack of understanding about material risks and costs; (c) because they

took unreasonable advantage of consumers’ inability to protect their own interests based on

consumers lack of complete information; and, (d) because they took unreasonable advantage of

consumers’ reasonable reliance that Defendants were providing truthful and accurate information.

        429.     Defendants also engaged in “deceptive” acts and practices in violation of Ind. Code

§ 24-5-0.5-3(a) and § 24-5-0.5-3(b) by: (a) misrepresenting that the subject of a consumer

transaction has sponsorship, approval, performance, characteristics, accessories, uses, or benefits

it does not have which the supplier knows or should reasonably know it does not have; and, (b)

misrepresenting that the subject of a consumer transaction is of a particular standard, quality,

grade, style, or model, if it is not and if the supplier knows or should reasonably know that it is

not.

        430.     Defendants’ representations and omissions were material because they were likely

to deceive reasonable consumers.

        431.     Defendants received notice pursuant to Ind. Code § 24-5-0.5-5(a) concerning their

wrongful conduct as alleged herein by Plaintiff Frank James and the Indiana Sub-Class Members.

Defendants’ conduct includes incurable deceptive acts that Defendants engaged in as part of a

scheme, artifice, or device with intent to defraud or mislead, under Ind. Code § 24-5-0.5-

2(a)(2)(a)(8).

        432.     As a direct and proximate result of Defendants’ uncured or incurable unfair,

abusive, and deceptive acts or practices, Plaintiff Frank James and the Indiana Sub-Class Members



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have suffered and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from not receiving the benefit of their bargain in

purchasing Defendants’ 303 THF Products and from the damage being done to tractors and

equipment by Defendants’ 303 THF Products.

       433.    Defendants’ violations present a continuing risk to Plaintiff Frank James and the

Indiana Sub-Class Members as well as to the general public.

       434.    Plaintiff Frank James and the Indiana Sub-Class Members seek all monetary and

non-monetary relief allowed by law, including the greater of actual damages of $500 for each non-

willful violation; the greater of treble damages or $1,000 for each willful violation; restitution;

reasonable attorneys’ fees and costs; injunctive relief; and punitive damages.

                                        COUNT XVIII
                      Violation of the Kansas Consumer Protection Act,
                                    K.S.A. § 50-623, et seq.

       435.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       436.    The Kansas Consumer Protection Act (”KCPA), K.S.A. § 50-623 et seq., prohibits

deceptive and unconscionable acts and practices in connection with consumer transactions.

       437.    Plaintiffs and the Kansas Sub-Class Members are “consumers” and “persons” for

purposes of the KCPA, K.S.A. §50-624(b) and (i).

       438.    Defendants are each a “supplier” as defined by K.S.A. § 50-624(l).

       439.    The purchase of Defendants’ 303 THF Products was and is a “consumer

transaction” as defined by K.S.A. § 50-624(c).

       440.    Under the KCPA, Defendants have a statutory duty to refrain from both “deceptive

acts and practices” and “unconscionable acts and practices.”



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       441.    Defendants engaged in deceptive and unconscionable acts and practices, including,

but not limited to, the use of deception, fraud, false pretense, false promise, misrepresentation,

unfair practice and the concealment, suppression, or omission of material facts in connection with

the sale or advertisement of their 303 THF Products in trade or commerce in the State of Kansas

and throughout the United States.

       442.    Defendants’ conduct set forth herein, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

and that the 303 THF Products met specifications, were deceptive, unconscionable, false and

misleading and made knowingly by Defendants or without knowledge as to their truth or falsity.

       443.    Defendants’ conduct set forth herein, including without limitation the label

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met specifications, and Defendants’ failure to inform consumers of the

true nature of the product and the obsolete specifications, were also deceptive and unconscionable

in omitting or suppressing a material fact in that Defendants’ 303 THF Products were not

appropriate for use and did not meet specifications as labeled, advertised, marketed and sold.

       444.    Defendants’ conduct as set forth herein with regard to the marketing and sale of the

303 THF Products constitutes deceptive and unconscionable acts and practices.

       445.    Defendants engaged in deceptive and unconscionable practices including

deception, false promises, misrepresentation, and/or the concealment, suppression or omission of

material facts in connection with the marketing and sale of the 303 THF Products.

       446.    Defendants falsely represented these facts, knowingly or with reason to know, that

the 303 THF Products had sponsorship, approval, accessories, characteristics, ingredients, uses,

benefits, and/or quantities that it did not have, in violation of K.S.A. § 50-626(b)(1)(A).



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          447.   Defendants falsely represented, knowingly or with reason to know, that the 303

THF Products were of a particular standard, quality, grade, style and/or model when the products

materially differed from that representation, in violation of K.S.A. § 50-626(b)(1)(D).

          448.   Defendants willfully used in a written representation an exaggeration, falsehood,

innuendo, and/or ambiguity as to a material fact, in violation of K.S.A. § 50-626(b)(2).

          449.   Defendants willfully failed to state materials facts regarding their 303 THF

Products and willfully concealed, suppressed, and omitted material facts, in violation of K.S.A. §

50-626(b)(3).

          450.   Defendants engaged in a pattern of conduct toward Plaintiffs and all Kansas Sub-

Class Members that, when taken in its totality, is and was deceptive, in violation of K.S.A. § 50-

626(a).

          451.   Defendants engaged in a pattern of conduct toward Plaintiffs and all Kansas Sub-

Class Members that, when taken in its totality, is and was unconscionable, in violation of K.S.A.

§ 50-627(a).

          452.   Defendants’ conduct with regard to their 303 THF Products was materially

deceptive and unconscionable, and was a proximate cause of economic damage to purchasers.

          453.   Plaintiffs and Kansas Sub-Class Members have suffered economic and other

damages as a result of Defendants’ conduct with regard to the marketing and sale of the 303 THF

Products.

          454.   As a direct and proximate result of Defendants’ illegal conduct, Plaintiffs and

Kansas Sub-Class Members have suffered ascertainable losses of money.

          455.   Defendants’ conduct as described herein was intentional, done knowingly, and was

in conscious disregard of the rights of Plaintiffs and other Kansas Sub-Class Members.



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        456.        Defendants’ conduct is such that an award of punitive damages against each

Defendant is appropriate.

                                            COUNT XIX
                         Violation of the Kentucky Consumer Protection Act,
                                    Ky Rev. Stat. § 367.170, et seq.

        457.        Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

        458.        The Kentucky Consumer Protection Act (“KCPA”) prohibits unfair, false,

misleading, or deceptive acts and practices in the conduct of any trade of commerce. Ky. Rev.

STAT. §367.170 (2015).

        459.        Defendants sold THF Products to Plaintiffs, Kentucky residents, and to other

Kentucky Sub-Class Members who reside in Kentucky, and the sales occurred in Kentucky.

        460.        Plaintiffs and other Kentucky Sub-Class Members purchased Defendants’ 303 THF

Products primarily for personal, family, or household purposes.

        461.        Defendants engaged in unfair, false, misleading and/or deceptive acts and practices,

including, but not limited to, the use of deception, fraud, false pretense, false promise,

misrepresentation, unfair practice and the concealment, suppression, or omission of material facts

in connection with the sale or advertisement of their 303 THF Products in trade or commerce in

the State of Kentucky and throughout the United States.

        462.        Defendants’ conduct set forth herein, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment

and that the 303 THF Products met or had an equivalency to specifications, were unfair, false,

misleading, and/or deceptive and made knowingly by Defendants or without knowledge as to their

truth or falsity.



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       463.    Defendants’ conduct set forth herein, including without limitation the label

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met or had an equivalency to specifications, and Defendants’ failure to

inform consumers of the true nature of the product and the obsolete specifications, were also unfair,

false, misleading, and/or deceptive in omitting or suppressing a material fact in that Defendants’

303 THF Products were not appropriate for use and did not meet specifications as labeled,

advertised, marketed and sold.

       464.    Defendants intentionally engaged in the above course of conduct knowing that such

conduct was unfair, false, misleading and/or deceptive. The deceptive acts and practices engaged

in by Defendants were and are consumer related.

       465.    As a result of Defendants’ unfair, false, misleading, and/or deceptive acts or

practices when selling the 303 THF Products, Plaintiffs and other Kentucky Sub-Class Members

have incurred financial damages as well as damage to equipment.

       466.    An award of punitive damages to Plaintiffs and Kentucky Sub-Class Members is

also appropriate.

                                         COUNT XX
                     Violation of the Michigan Consumer Protection Act,
                                     MCL 445.901, et seq.

       467.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       468.    As alleged herein, Defendants’ conduct in connection with the manufacturing,

distribution, marketing and sale of the 303 THF Products to Plaintiff Clough and the Michigan

Sub-Class constitutes unfair, unconscionable, and deceptive acts or practices in the conduct of




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trade and commerce in violation of the provisions of the Michigan Consumer Protection Act, MCL

445.901 et seq., as follows:

           (a) Defendants’ conduct violates MCL 445.903(1)(c), by representing that the

               303 THF Products have characteristics and benefits that they do not have;

           (b) Defendants’ conduct violates MCL 445.903(1)(e), by representing that the

               303 THF Products are of a particular standard, quality or grade, when it is

               of another;

           (c) Defendants’ conduct violates MCL 445.903(1)(s), by failing to reveal a

               material fact, the omission of which tends to mislead or deceive the

               consumer, and which fact could not reasonably be known by the consumer;

           (d) Defendants’ conduct violates MCL 445.903(bb), by representing material

               facts such that a person reasonably believes the represented or suggested

               state of affairs to be other than it actually is; and/or

           (e) Defendants’ conduct violates MCL 445.903(cc), by failing to reveal facts

               that are material to the transaction in light of representations of fact made

               in positive manner.

       469.    As a result of such unfair, unconscionable and deceptive conduct, Plaintiff Clough

and the Michigan Sub-Class Members have suffered, and will continue to suffer, damages.

       470.    This Court has the power to enjoin the continuation of the unfair, unconscionable

and deceptive conduct alleged herein pursuant to MCL 445.911(1).

       471.    Plaintiff Clough and the Michigan Sub-Class Members are therefore entitled to

damages in an amount to be determined at trial, and to equitable relief in the form of appropriate

injunctive relief, as a result of the unfair business conduct alleged herein.



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                                         COUNT XXI
                       Violation of the Minnesota Consumer Fraud Act,
                              Minnesota Statute § 325F.67, et seq.

       472.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       473.    The Minnesota Consumer Fraud Act, Minnesota statute § 325F.67 et seq., prohibits

deceptive and unconscionable acts and practices in connection with consumer transactions,

including asserting false statements in advertising

       474.    Plaintiff and the Minnesota Sub-Class Members are “persons” for purposes of the

MCFA, M.S.A. §325F.68(3).

       475.    The goods supplied by Defendants in this matter are “merchandise” as defined by

M.S.A. § 325F.68(2).

       476.    The purchase of Defendants’ 303 THF Products was and is a “sale” as defined by

M.S.A. § 325F.68(4).

       477.    Under the MCFA, M.S.A. § 325F.69, Defendants have a statutory duty to refrain

from all manner of deceptive and/or unconscionable acts and practices when selling merchandise,

including, but not limited to, acts or use of fraud, false pretense, false promise, misrepresentation,

or misleading statement.

       478.    Defendants engaged in deceptive and unconscionable acts and practices, including,

but not limited to, the use of deception, fraud, false pretense, false promise, misrepresentation,

unfair practice and the concealment, suppression, or omission of material facts in connection with

the sale or advertisement of their 303 THF Products in trade or commerce in the State of Minnesota

and throughout the United States.




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        479.     Defendants’ conduct set forth herein, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

and that the 303 THF Products met or had an equivalency to specifications, were deceptive,

unconscionable, false and misleading and made knowingly by Defendants or without knowledge

as to their truth or falsity.

        480.     Defendants’ conduct set forth herein, including without limitation the label

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met or had an equivalency to specifications, and Defendants’ failure to

inform consumers of the true nature of the product and the obsolete specifications, were also

deceptive and unconscionable in omitting or suppressing a material fact in that Defendants’ 303

THF Products were not appropriate for use and did not meet specifications as labeled, advertised,

marketed and sold.

        481.     Defendants’ conduct as set forth herein with regard to the marketing and sale of the

303 THF Products constitutes deceptive and unconscionable acts and practices.

        482.     Defendants engaged in deceptive and unconscionable practices including fraud,

false pretense, false promise, misrepresentation, misleading statement, deception, and/or the

concealment, suppression or omission of material facts in connection with the marketing and sale

of the 303 THF Products.

        483.     Defendants falsely represented these facts, knowingly or with reason to know, that

the 303 THF Products had sponsorship, approval, accessories, characteristics, ingredients, uses,

benefits, and/or quantities that it did not have, in violation of M.S.A. § 325F.67 and 325F.69(1).




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       484.    Defendants falsely represented, knowingly or with reason to know, that the 303

THF Products were of a particular standard, quality, grade, style and/or model when the products

materially differed from that representation, in violation of M.S.A. § 325F.67 and 325F.69(1).

       485.    Defendants willfully used in a written representation an exaggeration, falsehood,

innuendo, and/or ambiguity as to a material fact, in violation of M.S.A. § 325F.67 and 325F.69(1).

       486.    Defendants willfully failed to state materials facts regarding their 303 THF

Products and willfully concealed, suppressed, and omitted material facts, in violation of M.S.A. §

325F.67 and 325F.69(1).

       487.    Defendants engaged in a pattern of conduct toward Plaintiff and all Minnesota Sub-

Class Members that, when taken in its totality, is and was deceptive, in violation of M.S.A. §

325F.67 and 325F.69(1).

       488.    Defendants engaged in a pattern of conduct toward Plaintiff and all Minnesota Sub-

Class Members that, when taken in its totality, is and was unconscionable, in violation of M.S.A.

§ 325F.67 and 325F.69(1).

       489.    Defendants’ conduct with regard to their 303 THF Products was materially

deceptive and unconscionable, and was a proximate cause of economic damage to purchasers,

including Plaintiff and Minnesota Sub-Class Members.

       490.    Plaintiff and Minnesota Sub-Class Members have suffered economic and other

damages as a result of Defendants’ conduct with regard to the marketing and sale of the 303 THF

Products.

       491.    As a direct and proximate result of Defendants’ illegal conduct, Plaintiff and

Minnesota Sub-Class Members have suffered ascertainable losses of money.




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       492.      Defendants’ conduct as described herein was intentional, done knowingly, and was

in conscious disregard of the rights of Plaintiff and other Minnesota Sub-Class Members.

       493.      Defendants’ conduct is such that an award of punitive damages against each

Defendant is appropriate.

                                          COUNT XXII
                       Violations of Missouri Merchandising Practices Act

       494.      Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       495.      Plaintiffs and Missouri Sub-Class Members purchased Defendants’ 303 THF

Products for personal, family, or household purposes.

       496.      Plaintiffs and Missouri Sub-Class Members are “person[s]” for purposes of the

Missouri Merchandising Practices Act (“MMPA”). Mo. Rev. Stat. § 407.010.

       497.      Defendants’ Cam2 Promax 303 THF Product meets the definition of “merchandise”

for purposes of the MMPA. Mo. Rev. Stat. § 407.010.

       498.      Defendants’ sale of their Cam2 Promax 303 THF Product is a “sale” within the

meaning of the MMPA. Mo. Rev. Stat. § 407.010.

       499.      Defendants engaged in “trade” or “commerce” within the meaning of the MMPA.

Mo. Rev. Stat. § 407.010.

       500.      Under the MMPA, Defendants have a statutory duty to refrain from deceptive acts

and practices.

       501.      Pursuant to the MMPA, an unlawful practice is the use of “any deception, fraud,

false pretense, false promise, misrepresentation, unfair practice or the concealment, suppression,

or omission of any material fact in connection with the sale or advertisement of any merchandise

in trade or commerce . . . in or from the State of Missouri.” Mo. Rev. Stat. § 407.020.

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       502.    Defendants used and employed deception, fraud, false pretense, false promise,

misrepresentation, unfair practice and the concealment, suppression, or omission of material facts

in connection with the sale or advertisement of their Cam2 Promax 303 THF Product in trade or

commerce in the State of Missouri, in violation of the MMPA.

       503.    Defendants’ conduct set forth above, including without limitation the

representations that the Cam2 Promax 303 THF Product was fit to be used in older tractors and

other equipment, and that the Cam2 Promax 303 THF Product met or had an equivalency to

specifications, were unfair, deceptive, false and misleading and made knowingly by Defendants

or without knowledge as to their truth or falsity and were therefore deceptions, frauds, false

pretenses, false promises, and misrepresentations as described at § 407.020 RSMo., and therefore

a violation of the MMPA.

       504.    Defendants’ conduct set forth above, including without limitation the label

representations that the Cam2 Promax 303 THF Product was fit to be used in older tractors and

other equipment, that the Cam2 Promax 303 THF Product met or had an equivalency to

specifications, and Defendants’ failure to inform consumers of the true nature of the product and

the obsolete specifications, also constituted the omission or suppression of a material fact in

violation of § 407.020 RSMo in that Defendants’ Cam2 Promax 303 THF Product was not

appropriate for use and did not meet specifications as labeled, advertised, marketed, and sold.

       505.    Defendants’ conduct as set forth herein with regard to the marketing and sale of the

Cam2 Promax 303 THF Product constitutes unlawful, unfair and/or fraudulent business practices

in violation of the MMPA.

       506.    Defendants engaged in unlawful practices including deception, false promises,

misrepresentation, and/or the concealment, suppression or omission of material facts in connection



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with the marketing and sale of the Cam2 Promax 303 THF Product, all in violation of §407.020

RSMo.

        507.   Defendants’ conduct with regard to their Cam2 Promax 303 THF Product was

materially misleading and deceptive, and was a proximate cause of economic damage to

purchasers.

        508.   Plaintiffs and the Missouri Sub-Class Members have suffered economic and other

damages as a result of Defendants’ conduct with regard to the marketing and sale of the Cam2

Promax 303 THF Product.

        509.   As a direct and proximate result of Defendants’ illegal conduct, Plaintiffs and the

Missouri Sub-Class Members have suffered ascertainable losses of money.

        510.   Defendants’ conduct as described herein was intentional, done knowingly, in

conscious disregard of the rights of Plaintiffs and other Missouri Sub-Class Members, and in

violation of § 407.020 RSMo, and the regulations of the Attorney General of Missouri promulgated

thereunder.

        511.   Defendants’ conduct is such that an award of punitive damages against each

Defendant is appropriate.

                                       COUNT XXIII
                      Violations of Nebraska Consumer Protection Act
                               Neb. Rev. St. §§ 59-1601 et seq

        512.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

        513.   Plaintiffs other Nebraska Sub-Class Members, and Defendants are all “person[s]”

for purposes of the NCPA. Neb. Rev. St. §§ 59-1601 et seq.




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       514.    Defendants’ sale of their 303 THF Products constitutes “Trade or Commerce” as

contemplated in the NCPA. Neb. Rev. St. § 59-1601.

       515.    In selling their 303 THF Products to Plaintiffs and the Nebraska Sub-Class,

Defendants have engaged in unfair and/or deceptive acts or practices by making

misrepresentations of material facts, including without limitation, the representations that the 303

THF Products were fit to be used in older tractors and other equipment, that the 303 THF Products

met or had an equivalency to specifications, and the other representations set forth above.

       516.    Pursuant to the NCPA, Plaintiffs Simpson and Loeffler have standing to pursue this

claim as each has suffered actual economic damages as a proximate result of Defendants’ actions

as set forth herein. Plaintiffs Simpson and Loeffler are seeking recovery of actual damages,

together with the costs of suit, including reasonable attorney fees, punitive and/or treble damages,

and for such further relief as this Court deems just. Neb. Rev. St. §59-1609.

       517.    These representations were materially misleading and deceptive, and were a

producing cause of economic damages to consumers.

       518.    Defendants violated the NCPA by failing to adequately warn Plaintiffs            and

Nebraska Sub-Class Members of the true nature of Defendants’ 303 THF Products, of the use of

line flush and used oils as components of Defendants’ 303 THF Products, of Defendants’ failure

to meet any equipment manufacturer specifications, and of other limitations to appropriate uses of

the 303 THF Products.

       519.    Defendants’ actions as described herein were done knowingly with conscious

disregard of the rights of Plaintiffs and the Nebraska Sub-Class Members, and Defendants were

wanton and malicious in their concealment of the same.




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       520.    Defendants’ false, deceptive and misleading business practices constitutes a

continuing course of conduct under the NCPA.

       521.    Neither Plaintiffs nor the Nebraska Sub-Class Members nor any reasonable

consumer would have purchased Defendants’ 303 THF Products if they were informed that it was

obsolete, failed to meet specifications, made with improper ingredients, did not have the

performance benefits listed, and/or would cause damage to their tractors or equipment.

       522.    Plaintiffs and the Nebraska Sub-Class Members are entitled to injunctive relief

pursuant to Neb. Rev. St. § 59-1609 in the form of enjoining Defendants from (1) selling obsolete

tractor hydraulic fluid; (2) expressly or implicitly representing to potential purchasers that their

tractor hydraulic fluid products are suitable for use in tractors or other equipment; and (3)

providing inadequate warning on tractor hydraulic fluid products as to appropriate uses and

potential harm to equipment. Plaintiffs and other Nebraska Sub-Class Members are also entitled

to injunctive relief in the form of corrective advertising requiring Defendants to disseminate

truthful, adequate disclosures and warnings about the actual uses, if any, of Defendants’ 303 THF

Products.

       523.    Plaintiffs and the Nebraska Sub-Class Members will be irreparably harmed if such

an Order is not granted.

                                      COUNT XXIV
               Violations of Nebraska Uniform Deceptive Trade Practices Act
                               Neb. Rev. St. §§ 87-301 et seq.

       524.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.




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       525.    Plaintiffs bring this claim under Neb. Rev. St. §§ 87-301 et seq., on behalf of

themselves and the Nebraska Sub-Class Members, who were subject to Defendants’ above-

described deceptive trade practices.

       526.    The actions of Defendants set forth above constitute a deceptive trade practice in

that Defendants represented their 303 THF Products as having characteristics, ingredients, uses,

or benefits that those 303 THF Products do not have, all of which is actionable under Neb. Rev.

St. § 87-302(a)(5).

       527.    The actions of Defendants set forth above constitute a deceptive trade practice in

that Defendants represented their 303 THF Products were of a particular standard, quality, or grade

that the 303 THF Products were not, all of which is actionable under Neb. Rev. St. § 87-302(a)(7).

       528.    The actions of Defendants set forth above constitute an unconscionable action or

course of action which was committed knowingly, and which was the producing cause of economic

damages to Plaintiffs and Nebraska Sub-Class Members, all of which is actionable under Neb.

Rev. St. § 87-302.

       529.    Plaintiffs and the Nebraska Sub-Class Members are entitled to injunctive relief

pursuant to Neb. Rev. St. § 87-303 in the form of enjoining Defendants from (1) selling obsolete

tractor hydraulic fluid; (2) expressly or implicitly representing to potential purchasers that their

tractor hydraulic fluid products are suitable for use in tractors or other equipment; and (3)

providing inadequate warnings on tractor hydraulic fluid products as to appropriate uses and

potential harm to equipment. Plaintiffs and other Nebraska Sub-Class Members are also entitled

to injunctive relief in the form of corrective advertising requiring Defendants to disseminate

truthful, adequate disclosures and warnings about the actual uses, if any, of Defendants’ 303 THF

Products.



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                                         COUNT XXV
                    Violation of the New York Deceptive Sales Practices Act
                                 N.Y. Gen. Bus. § 349 and § 350

          530.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

          531.   New York’s General Business Law § 349 makes unlawful “[d]eceptive acts or

practices in the conduct of any business, trade or commerce … in this state.” N.Y. Gen Bus. L. §

349(a).

          532.   Defendants willfully or knowingly engaged in deceptive and misleading

representations and omissions aimed at causing reasonable consumers and the public in the State

of New York to be deceived about the suitability of the 303 THF Products for use in tractors and

other equipment as tractor hydraulic fluid. Defendants’ conduct described herein constitutes

deceptive acts or practices in the conduct of business, trade or commerce.

          533.   Defendants’ unlawful conduct was consumer-oriented in that it was designed to,

had the capacity to, and did, deceive consumers and affect consumer purchase decisions in the

State of New York.

          534.   Defendants’ conduct described herein affected the public interest, and in particular,

the public interest in New York State, because that conduct perpetrated a fraud on consumers in

New York.

          535.   As a direct and proximate cause of Defendants’ deception in the State of New York,

Plaintiff Sawyer Dean and the New York Sub-Class Members have been injured by the violation

of § 349 described herein. This injury is separate from, and not derivative of, the injury to any

other person or entity that may have resulted from Defendants’ conduct. The injury suffered by

Plaintiff Sawyer Dean and the New York Sub-Class Members includes, without limitation, the



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cost of the useless and harmful 303 THF Products, and economic injuries flowing from the damage

to tractors and other equipment caused by Defendants’ 303 THF Products and/or by the use of

Defendants’ 303 THF Products instead of a tractor hydraulic fluid that would actually protect

tractors and equipment.

        536.   By reason of the foregoing, Defendants are liable to each of Plaintiff Sawyer Dean

and each New York Sub-Class Member for actual damages suffered resulting from the above-

described violation of New York General Business Law § 349, or, for any whose damages are

less than $50, then $50 minimum for each, trebling of those damages, and reasonable attorneys’

fees.

        537.   Plaintiff Sawyer Dean, along with the New York Sub-Class Members, are entitled

to injunctive relief pursuant to § 349 enjoining Defendants from (1) selling 303 THF Products or

other similar products; (2) expressly or impliedly representing to past, current, and/or potential

customers that 303 THF Products are suitable for us as tractor hydraulic fluid; and, (3) providing

inadequate warnings as to the harm the 303 THF Products can cause. Plaintiff Sawyer Dean and

Members of the New York Sub-Class are also entitled to injunctive relief in the form of corrective

advertising and notice to purchasers and requiring Defendants to disseminate truthful, adequate

disclosures and warning about use of Defendants’ 303 THF Products.

        538.   New York’s General Business Law § 350 declares unlawful “[f]alse advertising in

the conduct of any business, trade or commerce ….” “False advertising” is defined as “advertising,

including labeling, of a commodity … if such advertising is misleading in a material respect.”

N.Y. Gen. Bus. Law § 350-a.

        539.   The labeling on the packages of Defendants’ 303 THF Products constitutes

“advertising” within the meaning of N.Y. Gen. Bus. Law §§ 350 and 350-a.



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       540.    The labeling on the packages of Defendants’ 303 THF Products was misleading in

one or more material respects, as detailed above.

       541.    The labeling on the packages of Defendants’ 303 THF Products constitutes “false

advertising” within the meaning of §§ 350 and 350-a.

       542.    Plaintiff Sawyer Dean and New York Sub-Class Members each were injured by

reason of Defendants’ violations of §§ 350 and 350-a. in that each of them purchased useless and

harmful 303 THF Products as a result of the misleading product labels.

       543.    By reason of the foregoing, Defendants are liable to Plaintiff Sawyer Dean and the

New York Sub-Class Members for their actual damages, or for statutory damages of $500 for each

violation, whichever is greater, in a total amount to be proved at trial, along with trebling of those

damages, and reasonable attorneys’ fees.

       544.    Plaintiff Sawyer Dean and New York Sub-Class Members, as well as the

consuming public of the State of New York, will suffer irreparable injury if Defendants are

permitted to continue the deceptive practices described herein.

       545.    By reason of the foregoing, Plaintiff Sawyer Dean and the New York Sub-Class

Members are entitled to pursuant to § 350 enjoining Defendants from (1) selling 303 THF Products

or other similar products; (2) expressly or impliedly representing to past, current, and/or potential

customers that 303 THF Products are suitable for us as tractor hydraulic fluid; and, (3) providing

inadequate warnings as to the harm the 303 THF Products can cause. Plaintiff Sawyer Dean and

Members of the New York Sub-Class are also entitled to injunctive relief in the form of corrective

advertising and notice to purchasers and requiring Defendants to disseminate truthful, adequate

disclosures and warning about use of Defendants’ 303 THF Products.




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                                       COUNT XXVI
                 Violation of the North Carolina Consumer Protection Act,
                                  N.C.G.S. § 75-1.1, et seq.

       546.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       547.   As alleged herein, Defendants’ conduct in connection with the distribution,

marketing and sale of the 303 THF Products to Plaintiffs Lemonds, Sigmon, Upchurch, White and

the North Carolina Sub-Class Members constitutes unfair, unconscionable and deceptive acts or

practices in conduct or trade and commerce in violation of the provisions of the North Carolina

Consumer Protection Act, N.C.G. S. § 75-1.1, et seq, as follows:

           (a) by representing that the 303 THF Products have characteristics and benefits

              that they do not have;

           (b) by representing that the 303 THF Products are of a particular standard,

              quality or grade, when it is of another;

           (c) by failing to reveal a material fact, the omission of which tends to mislead

              or deceive the consumer, and which fact could not reasonably be known by

              the consumer;

           (d) by representing material facts such that a person reasonably believes the

              represented or suggested state of affairs to be other than it actually is;

           (e) by failing to reveal facts that are material to the transaction in light of

              representations of facts made in positive manner; and/or

           (f) by causing confusion or misunderstanding as to the legal rights, obligations

              or remedies of a party to a transaction.




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          548.   As a result of such unfair, unconscionable and deceptive conduct, Plaintiffs

Lemonds, Sigmon, Upchurch, White and the North Carolina Sub-Class Members have suffered,

and will continue to suffer, damages.

          549.   This Court has the power to enjoin the continuation of the unfair, unconscionable

and deceptive conduct alleged herein.

          550.   Plaintiffs Lemonds, Sigmon, Upchurch, White and the North Carolina Sub-Class

Members are therefore entitled to damages in an amount to be determined at trial, and to equitable

relief in the form of appropriate injunctive relief, as a result of the unfair business conduct alleged

herein.

                                        COUNT XXVII
                        Violations of Ohio Consumer Sales Practices Act

          551.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

          552.   Plaintiffs Gosche, Hayes, Ortner, Ohio Sub-Class Members, and Defendants are all

“person[s]” for purposes of OCSPA, R.C. 1345.01 et seq.

          553.   Plaintiffs Hayes, Ortner, and Ohio Sub-Class Members are all “consumer[s]” for

purposes of the OCSPA, R.C. 1345.01 et seq.

          554.   Defendants are all “supplier[s]” for purposes of the OCSPA, R.C. 1345.01 et seq.

          555.   Defendants’ sale of 303 THF Products constitutes a “Consumer transaction” for

purposes of the OCSPA, R.C. 1345.01 et seq.

          556.   Pursuant to the OCSPA, “no supplier shall commit an unfair or deceptive act or

practice in connection with a consumer transaction.” R.C. 1345.01.




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       557.    Under the OCSPA, the act or practice of a supplier in representing that the subject

of a consumer transaction has performance characteristics, uses or benefits that it does not have is

deceptive. R.C. 1345.2(B)(1).

       558.    Under the OCSPA, the act or practice of a supplier in representing that the subject

of a consumer transaction is of a particular standard, quality, grade, style, prescription or model

that it is not, is deceptive. R.C. 1345.2(B)(2).

       559.    Pursuant to the OCSPA, “no supplier shall commit an unconscionable act or

practice in connection with a consumer transaction.” R.C. 1345.03.

       560.    Under the OCSPA, an unconscionable act occurs where a supplier knew at the time

the consumer transaction was entered into that the consumer was unable to receive a substantial

benefit from the subject of the consumer transaction. R.C. 1345.03(B)(3).

       561.    In selling the 303 THF Products at issue to Plaintiffs Gosche, Hayes, Ortner, and

the Ohio Sub-Class Members, Defendants have engaged in deceptive and/or unconscionable acts

or practices by misrepresented material facts, including without limitation, the representations that

the 303 THF Products were fit to be used in older tractors and other equipment, that the 303 THF

Products met or had an equivalency to specifications, and the other representations set forth above.

       562.    Pursuant to the NCPA, Plaintiffs Gosche, Hayes and Ortner have standing to pursue

this claim as each has suffered actual economic damages as a proximate result of Defendants’

actions as set forth herein. R.C. 1345.09(A).

       563.    These representations were materially misleading and deceptive, and were a

producing cause of economic damages to consumers.

       564.    Defendants violated the OCSPA by failing to adequately warn Plaintiffs Gosche,

Hayes, Ortner and Ohio Sub-Class Members of the true nature of Defendants’ 303 THF Products,



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of the use of line flush and used oils as components of Defendants’ 303 THF Products, of

Defendants’ failure to meet any equipment manufacturer specifications, and of other limitations to

appropriate uses of the 303 THF Products.

       565.    Defendants’ actions as described herein were done knowingly with conscious

disregard of the rights of Plaintiffs Gosche, Hayes, Ortner, and the Ohio Sub-Class Members, and

Defendants were wanton and malicious in their concealment of the same.

       566.    Defendants’ false, deceptive and misleading business practices constitute a

continuing course of conduct under the OCSPA.

       567.    Neither Plaintiffs Gosche, Hayes, Ortner, the Ohio Sub-Class Members nor any

reasonable consumer would have purchased Defendants’ 303 THF Products if they were informed

that it was obsolete, failed to meet specifications, made with improper ingredients, did not have

the performance benefits listed, and/or would cause damage to their tractors or equipment.

       568.    Plaintiffs Gosche, Hayes, Ortner, and the Ohio Sub-Class Members are entitled to

injunctive relief pursuant to R.C. 1345.09(D) in the form of enjoining Defendants from (1) selling

obsolete tractor hydraulic fluid; (2) expressly or implicitly representing to potential purchasers that

their tractor hydraulic fluid products are suitable for use in tractors or other equipment; and (3)

providing inadequate warning on tractor hydraulic fluid products as to appropriate uses and

potential harm to equipment.       Plaintiffs Gosche, Hayes, Ortner, and other Ohio Sub-Class

Members are also entitled to injunctive relief in the form of corrective advertising requiring

Defendants to disseminate truthful, adequate disclosures and warnings about the actual uses, if

any, of Defendants’ 303 THF Products.

       569.    Plaintiffs Gosche, Hayes, Ortner, and the Ohio Sub-Class Members will be

irreparably harmed if such an Order is not granted.



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                                      COUNT XXVIII
                    Violations of Oklahoma Consumer Protection Statute

       570.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       571.    Plaintiffs Graves, Nash, and other Oklahoma Sub-Class Members are consumers

under the Oklahoma Consumer Protection Act.

       572.    Defendants’ sale of their 303 THF Products constitute practices in the course of

Defendants’ businesses under the Oklahoma Consumer Protection Act.

       573.    Defendants’ conduct set forth above constitutes unlawful practices under the

Oklahoma Consumer Protection Act.

       574.    In selling their 303 THF Products to Plaintiffs Graves, Nash, and the Oklahoma

Sub-Class, Defendants have engaged in unfair trade practices and/or deceptive trade practices

under the Oklahoma Consumer Protect Act, by misrepresentations of material facts, including

without limitation, the representations that the 303 THF Products were fit to be used in older

tractors and other equipment, that the 303 THF Products met or had an equivalency to

specifications, and the other representations set forth above.

       575.    These representations were materially misleading and deceptive, and were a

producing and proximate cause of damages to consumers.

       576.    Defendants violated the Oklahoma Consumer Protection Act by failing to

adequately warn Plaintiffs Graves, Nash, and the Oklahoma Sub-Class Members of the true nature

of Defendants’ 303 THF Products, of the use of line flush and used oils as components of

Defendants’ 303 THF Products, of Defendants’ failure to meet any equipment manufacturer

specifications, and of other limitations to appropriate uses of the 303 THF Products.




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       577.   Defendants’ actions as described herein were done knowingly with conscious

disregard of the rights of Plaintiffs Graves, Nash, and the Oklahoma Sub-Class Members, and

Defendants were wanton and malicious in their concealment of the same.

       578.   Neither Plaintiff Graves, Nash nor the Oklahoma Sub-Class Members nor any

reasonable consumer would have purchased Defendants’ 303 THF Products if they were informed

that it was obsolete, failed to meet specifications, made with improper ingredients, did not have

the performance benefits listed, and/or would cause damage to their tractors or equipment.

                                     COUNT XXIX
   Violation of the Pennsylvania Unfair Trade Practices and Consumer Protection Law
                                  73 P.S. § 201-1, et seq.

       579.   Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       580.   The Pennsylvania Unfair Trade Practices and Consumer Protection Law Act

prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce….” 73 P.

S. § 201-3. Defendants’ deceptive acts and practices include:

           (a) Knowingly designing, developing, manufacturing, advertising, and selling

              Defendants’ 303 THF Products with false claims and significant defects that

              result in risks when used so that consumers did not receive the benefit of

              their bargain;

           (b) Marketing and selling Defendants’ 303 THF Products that relied upon false

              claims, while at the same time exposing consumers to risks solely to

              increase profits;

           (c) Making affirmative public representations about the alleged benefits of

              Defendants’ 303 THF Products while, at the same time, not ensuring those



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               benefits were provided and while not ensuring safety with respect to the use

               of the 303 THF Products;

           (d) Concealing material information from consumers regarding the true nature

               of the defects in Defendants’ 303 THF Products in order to impact consumer

               purchasing behavior.

       581.    Defendants violated 73 P. S. § 201-3’s prohibition against engaging in unlawful

acts and practices by engaging in false and misleading advertising and by omitting material facts

from purchasers of Defendants’ 303 THF Products.

       582.    As alleged herein, Defendants’ marketing and sale of the 303 THF Products, and

more specifically the failure to inform customers of the risks inherent in Defendants’ 303 THF

Products, violated 73 P. S. § 201-3, common law, and other statutes. Plaintiff Minich and the

Pennsylvania Sub-Class Members reserve the right to allege other violations of the law, which

constitute other unlawful business acts and practices. As alleged herein, Defendants continue to

misrepresent the 303 THF Products’ abilities and continue to deny that the 303 THF Products pose

risks. Defendants have not recalled the 303 THF Products nor provided any remedial efforts

including a warning disclosing possible risks.

       583.    Defendants violated 73 P. S. § 201-3’s prohibitions against unfair conduct by

failing to inform customers about Defendants’ 303 THF Products’ abilities and their potential

risks; engaging in a pattern and practice of concealing those facts and continuing to sell those 303

THF Products despite knowledge that they are misrepresented and carry risks; and depriving

customers of the value of Defendants’ 303 THF Products as represented. This conduct is

substantially injurious to consumers, offends public policy, is immoral, unethical, oppressive, and

unscrupulous as the gravity of the conduct outweighs any alleged benefit. Defendants engaged in



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this conduct at the expense of their customers’ rights when other, lawful alternatives were available

(such as providing customers with full information about Defendants’ 303 THF Products,

including the known risks and potential side effects of use, prior to purchase).

       584.    Defendants engaged in this conduct to gain an unfair commercial advantage over

their competitors, seeking to avoid public knowledge of the true content and abilities of

Defendants’ 303 THF Products and their defects to avoid damage to their sales and reputation.

Defendants withheld critical and material information from Plaintiff Minich and the Pennsylvania

Sub-Class Members, competitors, and the marketplace, all to Defendants’ unfair competitive

advantage.

       585.    Defendants’ business practices, as alleged herein, constitute fraudulent conduct

because they were likely to deceive, and did deceive, Plaintiff Minich and the Pennsylvania Sub-

Class Members into purchasing Defendants’ 303 THF Products when those products were

misrepresented and defective and otherwise did not perform as advertised.

       586.    Defendants’ representations and omissions were material because they were likely

to deceive reasonable consumers.

       587.    As a direct and proximate result of Defendants’ unfair, unlawful, and fraudulent act

and practices, Plaintiff Minich and the Pennsylvania Sub-Class Members were injured and lost

money and property, including from not receiving the benefit of their bargain in purchasing

Defendants’ 303 THF Products, and increased time and expense in dealing with the tractor and

equipment damage caused from the use of Defendants’ 303 THF Products.

       588.    Defendants recklessly disregarded Plaintiff Minich and the Pennsylvania Sub-Class

Members’ rights.     Defendants’ knowledge of the false claims and risks associated with




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Defendants’ 303 THF Products put Defendants on notice that the 303 THF Products were not as

advertised.

       589.    Pursuant to 73 P. S. § 201-9.2, Plaintiff Minich and the Pennsylvania Sub-Class

Members seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and

awarding damages, punitive and/or treble damages, costs and reasonable attorneys’ fees, and any

other just and proper relief available under the Pennsylvania Unfair Trade Practices and Consumer

Protection Act.

                                        COUNT XXX
                    Violations of South Dakota Consumer Protection Act

       590.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       591.    Plaintiffs Gisi and other South Dakota Sub-Class Members are persons covered by

the South Dakota Consumer Protection Act.

       592.    Defendants’ conduct set forth above constitutes unlawful practices under the South

Dakota Consumer Protection Act.

       593.    In selling their 303 THF Products to Plaintiff Gisi and the South Dakota Sub-Class,

Defendants have engaged in deceptive practices under the South Dakota Consumer Protection Act,

by misrepresentations of material facts, including without limitation, the representations that the

303 THF Products were fit to be used in older tractors and other equipment, that the 303 THF

Products met or had an equivalency to specifications, and the other representations set forth above.

       594.    These representations were materially misleading and deceptive, and were a

proximate cause of damages.

       595.    Defendants violated the South Dakota Consumer Protection Act by failing to

adequately warn Plaintiff Gisi and the South Dakota Sub-Class Members of the true nature of

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Defendants’ 303 THF Products, of the use of line flush and used oils as components of Defendants’

303 THF Products, of Defendants’ failure to meet any equipment manufacturer specifications, and

of other limitations to appropriate uses of the 303 THF Products.

       596.    Defendants’ actions as described herein were done knowingly and intentionally and

with conscious disregard of the rights of Plaintiff Gisi and the South Dakota Sub-Class Members,

and Defendants were wanton and malicious in their concealment of the same.

       597.    Neither Plaintiff Gisi nor the South Dakota Sub-Class Members nor any reasonable

consumer would have purchased Defendants’ 303 THF Products if they were informed that it was

obsolete, failed to meet specifications, made with improper ingredients, did not have the

performance benefits listed, and/or would cause damage to their tractors or equipment.

                                        COUNT XXXI
                     Violation of the Texas Deceptive Trade Practices Act,
                     Texas Business and Commerce Code, § 17.41, et seq.

       598.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       599.    The Texas Deceptive Trade Practices Act (”DTPA”) prohibits false, misleading or

deceptive acts and practices in connection with a trade or business.

       600.    Plaintiffs and Texas Sub-Class Members are “consumers” within the meaning of §

17.54(4) of DTPA in that they are individuals who acquired by purchase the goods or products

that form the basis of this case and suffered damages for which they did not receive compensation

from any third party, person, or entity.

       601.    Plaintiffs and Texas Sub-Class Members seek to recover damages against each

Defendant under DTPA, § 17.41 et seq, because Defendants knowingly and/or intentionally

breached their implied warranties with respect to the 303 THF Products and also engaged in false,



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misleading, or deceptive acts or practices in the conduct of their trade of business, as set forth

above and in general by (a) representing that the 303 THF Products had characteristics, ingredients,

uses, or benefits which they do not; and (b) representing that the 303 THF Products were of a

particular standard, quality, or grade, when they were in fact or another.

       602.    Defendants engaged in false, misleading or deceptive acts or practices with regard

to the 303 THF Products, including, but not limited to, the use of deception, fraud, false pretense,

false promise, misrepresentation, unfair practice and the concealment, suppression, or omission of

material facts in connection with the sale or advertisement of their 303 THF Products in trade or

commerce in the State of Texas and throughout the United States.

       603.    Defendants’ conduct set forth herein, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

and that the 303 THF Products met specifications, were false, misleading, or deceptive acts or

practices.

       604.    Defendants’ conduct set forth herein, including without limitation the label

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met specifications, and Defendants’ failure to inform consumers of the

true nature of the product and the obsolete specifications, were also false, misleading, or deceptive

acts or practices in that Defendants omitted or suppressed material facts in that Defendants’ 303

THF Products were not appropriate for use and did not meet specifications as labeled, advertised,

marketed and sold.

       605.    Defendants engaged in a pattern of conduct toward Plaintiffs and all Texas Sub-

Class Members that, when taken in its totality, is and was false, misleading, or deceptive, in

violation of the DTPA.



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       606.    Defendants’ conduct in engaging in such false, misleading, or deceptive acts or

practices constituted a producing cause of the damages suffered by the Plaintiffs and Texas Sub-

Class Members such that Plaintiffs and Texas Sub-Class Members have the right and standing to

maintain an action against Defendants under the DTPA.

       607.    The Plaintiffs also have the right and standing to maintain an action against

Defendants under the DTPA because Defendants breached their implied warranties and that such

a breach constituted a producing cause of the damages suffered by the Plaintiffs and Texas Sub-

Class Members.

       608.    Plaintiffs and Texas Sub-Class Members have suffered economic and other

damages as a proximate result of Defendants’ conduct with regard to the marketing and sale of the

303 THF Products.

       609.    Defendants’ conduct as described herein was intentional, done knowingly and

intentionally, and was in conscious disregard of the rights of Plaintiffs and other Texas Sub-Class

Members.

       610.    Defendants’ conduct is such that an award of treble damages against each

Defendant is appropriate.

       611.    Pursuant to the DTPA, Plaintiffs and Texas Sub-Class Members are entitled to be

awarded Court costs and reasonable and necessary attorneys’ fees.

       612.    Plaintiffs provided Defendants notice of the defect in their 303 THF Products,

although such notice should be deemed unnecessary in light of the MDA action in 2017.

       613.    Plaintiffs will provide notice of this Complaint to the Consumer Protection

Division.




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                                      COUNT XXXII
              Violations of West Virginia Consumer Credit and Protection Act

       614.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       615.    The West Virginia Consumer Credit and Protection Act (”CCPA”) prohibits false,

misleading or deceptive acts and practices in connection with a trade or business.

       616.    Plaintiffs Bias, Curry and West Virginia Sub-Class Members are “consumers”

within the meaning of § 46A-6-102(2) of the CCPA in that they are individuals who acquired by

purchase the goods or products that form the basis of this case, and suffered damages for which

they did not receive compensation from any third party, person, or entity.

       617.    Plaintiffs Bias, Curry, and West Virginia Sub-Class Members seek to recover

damages against each Defendant under the CCPA, §46-A-6-101, et seq, because Defendants

knowingly and/or intentionally breached their implied warranties with respect to the 303 THF

Products and also engaged in false, misleading, or deceptive acts or practices in the conduct of

their trade of business, as set forth above and in general by (a) representing that the 303 THF

Products had characteristics, ingredients, uses, or benefits which they do not; and, (b) representing

that the 303 THF Products were of a particular standard, quality, or grade, when they were in fact

or another.

       618.    Defendants engaged in false, misleading or deceptive acts or practices with regard

to the 303 THF Products, including, but not limited to, the use of deception, fraud, false pretense,

false promise, misrepresentation, unfair practice and the concealment, suppression, or omission of

material facts in connection with the sale or advertisement of their 303 THF Products in trade or

commerce in the State of West Virginia and throughout the United States.




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       619.    Defendants’ conduct set forth above, including without limitation the

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

and that the 303 THF Products met specifications, were false, misleading, or deceptive acts or

practices.

       620.    Defendants’ conduct set forth above, including without limitation the label

representations that the 303 THF Products were fit to be used in older tractors and other equipment,

that the 303 THF Products met or had an equivalency to specifications, and Defendants’ failure to

inform consumers of the true nature of the product and the obsolete specifications, were also false,

misleading, or deceptive acts or practices in that Defendants omitted or suppressed a material fact

in that Defendants’ 303 THF Products were not appropriate for use and did not meet specifications

as labeled, advertised, marketed and sold.

       621.    Defendants engaged in a pattern of conduct toward Plaintiff Bias, Curry, and all

West Virginia Sub-Class Members that, when taken in its totality, is and was false, misleading, or

deceptive, in violation of the CCPA.

       622.    Defendants’ conduct in engaging in such false, misleading, or deceptive acts or

practices constituted a producing cause of the damages suffered by the Plaintiffs Bias, Curry, and

West Virginia Sub-Class Members such that they have the right and standing to maintain an action

against Defendants under the CCPA.

       623.    The Plaintiffs also have the right and standing to maintain an action against

Defendants under the CCPA because Defendants breached their implied warranties and that such

a breach constituted a producing cause of the damages suffered by the Plaintiffs Bias, Curry, and

West Virginia Sub-Class Members.




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       624.    Plaintiffs Bias, Curry, and West Virginia Sub-Class Members have suffered

economic and other damages as a proximate result of Defendants’ conduct with regard to the

marketing and sale of the 303 THF Products.

       625.    Defendants’ conduct as described herein was intentional, done knowingly and

intentionally, and was in conscious disregard of the rights of Plaintiff Bias, Curry, and other West

Virginia Sub-Class Class Members.

       626.    Defendants’ conduct is such that an award of treble damages against each

Defendant is appropriate.

       627.    Pursuant to the CCPA, Plaintiffs Bias, Curry, and West Virginia Sub-Class

Members are entitled to be awarded Court costs and reasonable and necessary attorneys’ fees.

       628.    Plaintiffs provided Defendants notice of the defect in their 303 THF Products,

although such notice should be deemed unnecessary in light of the MDA action in 2017.

       629.    Plaintiffs will provide notice of this Complaint to the Consumer Protection

Division.

                                          COUNT XXXIII
                     Violation of the Wisconsin Deceptive Trade Practices Act,
                                   Wis. Stat. Ann. §100.18, et seq.

       630.    Plaintiffs incorporate by reference all other paragraphs of this Consolidated

Amended Complaint as if fully set forth herein.

       631.    Defendants are each a “person, firm, corporation or association,” as defined by Wis.

Stat. § 100.18(1).

       632.    Plaintiffs Hamm, Wendt, and the Wisconsin Sub-Class Members are members of

“the public,” as defined by Wis. Stat. § 100.18(1).




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       633.    With intent to sell, distribute, or increase consumption of merchandise, services, or

anything else offered by Defendants to members of the public for sale, use, or distribution,

Defendants made, published, circulated, placed before the public or caused (directly or indirectly)

to be made, published, circulated, or placed before the public in Wisconsin advertisements,

announcements, statements, and representations to the public which contained assertions,

representations, or statements of facts which are untrue, deceptive, and/or misleading, in violation

of Wis. Stat. § 100.18(1).

       634.    Defendants have each also engaged in the above-described conduct as part of a plan

or scheme, the purpose or effect of which was to sell, purchase, or use merchandise or services not

as advertised, in violation of Wis. Stat. § 100.18(9).

       635.    Defendants’ representations and omissions were material because they were likely

to deceive reasonable consumers.

       636.    Defendants’ failure to disclose the facts described herein is the same as actively

representing that those facts do not exist.

       637.    As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiffs Hamm, Wendt, and the Wisconsin Sub-Class Members have suffered and will continue

to suffer injury, ascertainable losses of money and property, and monetary and non-monetary

damages, including from not receiving the benefit of the bargain in purchasing Defendants’ 303

THF Products, and increased time and expense in treating the damage they cause.

       638.    Had Defendants disclosed to Plaintiffs Hamm, Wendt, and the Wisconsin Sub-

Class Members that they misrepresented Defendants’ 303 THF Products, omitted material

information regarding the risk of harm involved and the suitability and true ability of Defendants’

303 THF Products, and were otherwise engaged in common business practices that ultimately hurt



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consumers, Defendants would have been unable to continue selling the defective 303 THF

Products. Instead, Defendants represented that the 303 THF Products met OEM specifications,

provided performance benefits, and could be used as tractor hydraulic fluid.

       639.      Defendants recklessly disregarded Plaintiff Hamm’s, Wendt’s, and the Wisconsin

Sub-Class Members’ rights. Defendants’ knowledge of the false claims and risks associated with

Defendants’ 303 THF Products put Defendants on notice that the 303 THF Products were not as

advertised.

       640.      Plaintiffs Hamm, Wendt, and the Wisconsin Sub-Class Members seek an order

enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages, punitive

and/or treble damages, attorneys’ fees, and any other just and proper relief available under the

Wisconsin Deceptive Trade Practices Act.



       WHEREFORE, Plaintiffs, on behalf of themselves and the Class and Sub-Classes

described in this Consolidated Amended Complaint, respectfully request that:

              A. The Court certify the Class and Sub-Classes pursuant to Rule 23 of the

                 Federal Rules of Civil Procedure, and adjudge Plaintiffs and counsel to be

                 adequate representatives thereof;

              B. The Court enter an Order requiring each Defendant to pay actual and

                 punitive damages to Plaintiffs and the other Members of the Class and Sub-

                 Classes;

              C. The Court enter an Order awarding Plaintiffs, individually and on behalf of

                 the other Members of the Class and Sub-Classes, the expenses and costs of




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              suit, including reasonable attorneys’ fees and reimbursement of reasonable

              expenses, to the extent provided by law;

           D. The Court enter an Order awarding to Plaintiffs, individually and on behalf

              of other Members of the Class and Sub-Classes, pre-and post-judgment

              interest, to the extent allowable; and,

           E. For such other and further relief as may be just and proper.



                                DEMAND FOR JURY TRIAL

       Plaintiffs and Class and Sub-Class Members hereby demand a jury trial on all issues of fact

and damages in this action.


Date: September 1, 2020              Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this document was filed electronically with the
United States District Court for the Western District of Missouri, with notice of case activity to be
generated and sent electronically by the Clerk of the Court to all designated persons this 1st day of
September, 2020.



                                                              /s/ Thomas V. Bender




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